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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

   GR OPCO, LLC,                                       Case No.: 1:22-cv-24119-FAM

                  Plaintiff,
          v.

   ELEVEN IP HOLDINGS, LLC,
   GRASSY CREEK LLC, and
   CS IRWIN LLC,

                  Defendants,

          and

   ELEVEN IP HOLDINGS LLC,

                  Counter-Plaintiff,

          v.

   GR OPCO, LLC,

                  Counter-Defendant.
                                                   /

      Plaintiff and Counter-Defendant GR Opco LLC d/b/a ELEVEN’s Initial Exhibit List

          Plaintiff and Counter-Defendant GR OPCO, LLC d/b/a E11EVEN (“E11EVEN”),

   pursuant to the July 11, 2023 Court’s Scheduling Order (D.E. 55) and remarks made during the

   same day hearing (Tr. 35:23-36:25 & 51:10-52:2; 58:19-24 and 61:7-62:4), provides its initial

   exhibit list (outside of those in which Plaintiff may potentially use for impeachment purposes):
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      No.                          Description                               Bates Range
     1.                                                                  GR OPCO 00127360-
                                                                         00127362
                                                                         CONFIDENTIAL
     2.      UNC Global Affairs Bio on Chad Pike (listing him as         GR OPCO 00002526
             “Chairman of Grassy Creek, L.L.C.”) available at
             https://global.unc.edu/directory/chad-pike-93/
     3.      MarketsWiki Profile on Chad Pike (listing him as the        GR OPCO 00001648
             Senior Managing Director and Co-Head of the Real
             Estate Group for The Blackstone Group) available at
             https://www.marketswiki.com/wiki/Chad_R._Pike
     4.      Gov.uk Personal Appointments Listings for Chad Pike         GR OPCO 00001630-
                                                                         00001642
     5.      Mar. 22, 2007 dated New York Times article entitled         GR OPCO 00001644-
             “Blackstone Files for $4 Billion I.P.O.”                    00001647
     6.      Oct. 2, 2007 dated State of Delaware Secretary of State     GR OPCO 00001987-
             Division of Corporations’ Certified Copy of Grassy          00001990
             Creek L.L.C. Certificate of Formation (signed by Alan
             Pike as Sole Organizer)
     7.      Summary from State of Delaware Secretary of State           GR OPCO 00020215
             Division of Corporations summary regarding Grassy
             Creek LLC
     8.      Grassy Creek L.L.C. LinkedIn Profile discussing how it      GR OPCO 00002803-
             is “a private investment firm [headquartered at 121         0002804
             Varick St, New York, NY] focused on early stage and
             growth equity opportunities [in] hospitality, and healthy
             living” and listing its website at http://grassycreek.nl
             (which forwards to Eleven Capital Management)
             available at https://www.linkedin.com/company/grassy-
             creek/about/
     9.      MassInvestor Profile for Grassy Creek L.L.C. (listing       GR OPCO 00001407-
             Chad Pike as Founder and A. Lowery, Ian Huschle, and        00001408
             J. Featherman as three Managing Directors)
     10.     Conde Nast Traveler Profile of Chad and Blake Pike          GR OPCO 00001511
     11.     Jan. 17, 2008 dated State of Delaware Secretary of State    GR OPCO 00001972-
             Division of Corporations’ Certified Copy of Crested         00001974
             Butte Club LLC Certificate of Formation
     12.     Summary from State of Delaware Secretary of State           GR OPCO 00019014
             Division of Corporations summary regarding Crested
             Butte Club LLC
     13.                                                                 ELEVEN 0054413
                                                                         HIGHLY
                                                                         CONFIDENTIAL


                 Plaintiff GR Opco LLC d/b/a E11EVEN’s Exhibit List
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     14.     Gunnison County Property Records for 512 Second St.,      GR OPCO 00002606-
             Crested Butte, Colorado (purchased by Crested Butte       00002610
             Club LLC on January 24, 2008 for $2,590,000)
     15.     Coburn Partners (Crested Butte based design-build,        GR OPCO 00001430-
             development and architecture company) page about for      00001437
             Scarp Ridge Lodge available at
             https://coburnpartners.com/projects/scarp-ridge-lodge/
     16.     Houzz Info on Coburn’s Scarp Ridge Lodge renovation       GR OPCO 00002685-
             project available at                                      00002689
             https://www.houzz.com/hznb/projects/scarp-ridge-lodge-
             pj-vj~196554
     17.     Apr. 3, 2008 dated State of Delaware Secretary of State   GR OPCO 00001975-
             Division of Corporations’ Certified Copy of Taylor        00001976
             River Canyon LLC Certificate of Formation (signed by
             Richard W. Hawthorne as Authorized Representative)
     18.     Summary from State of Delaware Secretary of State         GR OPCO 00014614
             Division of Corporations summary regarding Taylor
             River Canyon LLC
     19.     Report Summary with State of Colorado for Taylor          GR OPCO 00014612-
             River Canyon LLC, a Delaware Limited Liability            00014613
             Company
     20.     Apr. 4, 2008 filed “Statement of Foreign Entity           GR OPCO 00013411-
             Authority” for Taylor River Canyon LLC, a Delaware        00013413
             Limited Liability Company, filed with the State of
             Colorado (by Richard W. Hawthorne)
     21.     Annual / Periodic Reports (2009-2015) filed with State    GR OPCO 00013414-
             of Colorado by Taylor River Canyon LLC a Delaware         000013427
             Limited Liability Company (by Richard W. Hawthorne)
     22.     Periodic Reports (2016-2023) filed with State of          GR OPCO 00013430-
             Colorado by Taylor River Canyon LLC a Delaware            00014611
             Limited Liability Company (by Richard W. Hawthorne)
     23.     Apr. 11, 2008 Warranty Deed by David and Linda Gore       ELEVEN 0053437-
             Revocable Living Trust to Taylor River Canyon LLC         0053440
     24.     Gunnison County Property Records for 10931 County         GR OPCO 00002597-
             Road 742, Taylor River Canyon, Almont, Colorado           00002605
             (purchased by Taylor River Canyon LLC on Apr. 11,
             2008 for $3,485,000)
     25.     Summary from State of Delaware Secretary of State         GR OPCO 0002114
             Division of Corporations summary regarding Irwin
             Backcountry Guides LLC
     26.     July 17, 2008 filed “Statement of Foreign Entity          GR OPCO 00020216-
             Authority” for Irwin Backcountry Guides LLC, a            00020218
             Delaware Limited Liability Company, filed with the
             State of Colorado (by Richard W. Hawthorne)

                 Plaintiff GR Opco LLC d/b/a E11EVEN’s Exhibit List
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     27.     Annual / Periodic Reports (2009-2013) filed with State     GR OPCO 00020219-
             of Colorado by Irwin Backcountry Guides LLC, a             00020228
             Delaware Limited Liability Company (by Richard W.
             Hawthorne)
     28.     Periodic Reports (2014) filed with State of Colorado by    GR OPCO 00020234
             Irwin Backcountry Guides LLC, a Delaware Limited
             Liability Company (by Richard W. Hawthorne)
     29.     Periodic Reports (2015-2018) filed with State of           GR OPCO 00020237-
             Colorado by Irwin Backcountry Guides LLC, a                00021041
             Delaware Limited Liability Company (by Richard W.
             Hawthorne)
     30.     Report Summary with State of Colorado for Irwin            GR OPCO 00021145
             Backcountry Guides, LLC, a Delaware Limited Liability
             Company
     31.     Certificate of Registration for Irwin Backcountry Guides   GR OPCO 00021020-
             LLC, a Delaware Limited Liability Company with The         00021021
             State of Alaska
     32.     Biennial Report (2022) for Irwin Backcountry Guides        GR OPCO 00021142-
             LLC, a Delaware Limited Liability Company with The         00021143
             State of Alaska
     33.                                                               ELEVEN 0004867-
                                                                       0004869
                                                                       CONFIDENTIAL
     34.   Apr. 15, 2009 dated State of Delaware Secretary of State GR OPCO 00001979-
           Division of Corporations’ Certified Copy of Cold Smoke 00001980
           Powder Guides LLC Certificate of Formation (signed by
           Richard W. Hawthorne as Authorized Representative)
     35.                                                               ELEVEN 0004876-
                                                                       0004880
                                                                       CONFIDENTIAL
     36.                                                               ELEVEN 0004883-
                                                                       0004886
                                                                       CONFIDENTIAL
     37.   Apr. 17, 2009 filed “Statement of Foreign Entity            GR OPCO 00015811-
           Authority” for Cold Smoke Powder Guides, LLC, a             0001581
           Delaware Limited Liability Company, filed with the
           State of Colorado (by Richard W. Hawthorne)
     38.   June 15, 2009 email from Chad Pike to Michael               ELEVEN 0006048
           Bickford and Wesley Lipner concerning branding and          CONFIDENTIAL
           logo design and intent to not grow business until existing
           properties are online
     39.   Sept. 30, 2009 filed “Statement of Foreign Entity           GR OPCO 00017812-
           Authority” for Crested Butte Club LLC, a Delaware           00017817
           Limited Liability Company, filed with the State of
           Colorado (by Richard W. Hawthorne)
                 Plaintiff GR Opco LLC d/b/a E11EVEN’s Exhibit List
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     40.     Annual / Periodic Reports (2010-2011) filed with State        GR OPCO 00017818-
             of Colorado by Crested Butte Club, LLC, a Delaware            00017821
             Limited Liability Company (by Richard W. Hawthorne)
     41.     Report Summary with State of Colorado for Crested             GR OPCO 00019013
             Butte Club, LLC, a Delaware Limited Liability
             Company
     42.     Periodic Reports (2012-2022) filed with State of              GR OPCO 00017824-
             Colorado by Crested Butte Club, a Delaware Limited
             Liability Company (by Richard W. Hawthorne)
     43.     Nov. 23, 2009 dated State of Delaware Secretary of State      GR OPCO 00001977-
             Division of Corporations’ Certified Copy of Certificate       00001978
             of Amendment to change name of Cold Smoke Powder
             Guides LLC to CS Irwin LLC (signed by Richard W.
             Hawthorne as Authorized Representative)
     44.     Summary from State of Delaware Secretary of State             GR OPCO 00016617
             Division of Corporations summary regarding CS Irwin
             LLC
     45.     Nov. 30, 2009 dated “Statement of Change” filed with          GR OPCO 00015814-
             the State of Colorado to change name of Cold Smoke            000015815
             Powder Guides LLC to CS Irwin LLC (signed by
             Richard W. Hawthorne as Authorized Representative)
     46.     Annual / Periodic Reports (2010-2014) filed with State        GR OPCO 00015816-
             of Colorado by CS Irwin LLC, a Delaware Limited               00015828
             Liability Company (by Richard W. Hawthorne)
     47.     Annual / Periodic Reports (2015-2019) filed with State        GR OPCO 00015832-
             of Colorado by CS Irwin LLC, a Delaware Limited               00016613
             Liability Company (by Richard W. Hawthorne)
     48.     Report Summary with State of Colorado for CS Irwin            GR OPCO 00016615-
             LLC, a Delaware Limited Liability Company                     00016616
     49.     Linked-in Profile for Kyra (Phelps) Martin (listing how       GR OPCO 00003073-
             she began in Mar. 2010 at Grassy Creek LLC)                   00003074
     50.     Sept. 7, 2010 Sombras Group LLC assumed name                  SOMBRAS 0000072
             certificate with the State of Texas Office of the Secretary
             of State for THE ELEVEN INN
     51.     Sept. 15, 2010 Sombras Group LLC General Warranty             SOMBRAS 0000086-
             Deed for THE ELEVEN INN                                       0000090
     52.                                                                   ELEVEN 0040106-
                                                                           0040516
                                                                           HIGHLY
                                                                           CONFIDENTIAL
     53.                                                                   ELEVEN 0040572-
                                                                           0040982
                                                                           HIGHLY
                                                                           CONFIDENTIAL

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     54.                                                                ELEVEN 0050151 –
                                                                        0050561
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     55.                                                                ELEVEN 0004887-
                                                                        0004889
                                                                        CONFIDENTIAL
     56.     Mar. 25, 2011 dated State of Delaware Secretary of State   GR OPCO 00001985-
             Division of Corporations’ Certified Copy of Eleven IP      00001986
             Holdings LLC Certificate of Formation (signed by
             Richard W. Hawthorne as Authorized Representative)
     57.     Summary from State of Delaware Secretary of State          GR OPCO 00019024
             Division of Corporations summary regarding Eleven IP
             Holdings LLC
     58.     Apr. 7, 2011 filed U.S. Trademark App. Ser. No.            GR OPCO 00002893-
             85/289,102 for ELEVEN in Classes 039 and 041 (with         00003025
             prosecution history)
     59.     Apr. 7, 2011 filed U.S. Trademark App. Ser. No.            GR OPCO 00003026-
             85/289,682 for ELEVEN in Class 043 (“hotels [ ], hotel     00003213
             services, namely, providing luxury hotel
             accommodations [ ], resort lodging services, [ ]
             providing temporary lodging services in the nature of a
             tourist home[ ]”) (with prosecution history).
     60.     July 11, 2011 dated State of Delaware Secretary of State   GR OPCO 00001981-
             Division of Corporations’ Certified Copy of Irwin Cabin    00001982
             LLC Certificate of Formation (signed by Richard W.
             Hawthorne as Authorized Representative)
     61.     Summary from State of Delaware Secretary of State          GR OPCO 00017811
             Division of Corporations summary regarding Irwin
             Cabin LLC
     62.     Aug. 26, 2011 filed “Statement of Foreign Entity           GR OPCO 00016618-
             Authority” for Irwin Cabin, LLC, a Delaware Limited        00016620
             Liability Company, filed with the State of Colorado (by
             Richard W. Hawthorne)
     63.     Annual / Periodic Reports (2012-2022) filed with State     GR OPCO 00016621-
             of Colorado by Irwin Cabin, LLC, a Delaware Limited        00017808
             Liability Company (by Richard W. Hawthorne)
     64.     Report Summary with State of Colorado for Irwin Cabin,     GR OPCO 00017810
             a Delaware Limited Liability Company
     65.     July 22, 2011 dated Observer article entitled “No          GR OPCO 00001649-
             Wonder Blackstone’s Boss Just Bought at $25M Co-op”        00001651
             available at https://observer.com/2011/07/no-wonder-
             blackstones-boss-just-bought-a-25-m-co-op/
     66.                                                               ELEVEN 0004890-
                                                                       0004982
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                                                                 CONFIDENTIAL
     67.                                                         ELEVEN 0004895-
                                                                 0004901
                                                                 CONFIDENTIAL

     68.                                                         ELEVEN 0004902-
                                                                 0004909
                                                                 CONFIDENTIAL

     69.                                                         ELEVEN 0023589-
                                                                 0023591
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     70.                                                         ELEVEN 0004910-
                                                                 0004916
                                                                 CONFIDENTIAL
     71.                                                         ELEVEN 0004917-
                                                                 0004925
                                                                 CONFIDENTIAL
     72.                                                         ELEVEN 0004968-
                                                                 0004979
                                                                 CONFIDENTIAL
     73.     Aug. 20, 2011 e-mail to Chad Pike to A. Lowrey on   ELEVEN 0004992-
             remarks about website development                   0004998
     74.                                                         ELEVEN 0004999-
                                                                 0005011
                                                                 CONFIDENTIAL
     75.                                                         ELEVEN 0005012-
                                                                 0005021
                                                                 CONFIDENTIAL
     76.                                                         ELEVEN 0023606-
                                                                 0024017
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     77.                                                         ELEVEN 0024023-
                                                                 0023024
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     78.                                                         ELEVEN 0006049-
                                                                 0006051
                                                                 CONFIDENTIAL
     79.                                                         ELEVEN 0005086-
                                                                 0005088
                                                                 CONFIDENTIAL

                 Plaintiff GR Opco LLC d/b/a E11EVEN’s Exhibit List
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     80.                                                            ELEVEN 0005073-
                                                                    0005083
                                                                    CONFIDENTIAL
     81.                                                            ELEVEN 0006052-
                                                                    0006054
                                                                    CONFIDENTIAL


     82.                                                            ELEVEN 0040521-
                                                                    0040523
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     83.                                                            ELEVEN 0050562-
                                                                    0050945
                                                                    CONFIDENTIAL
     84.                                                            ELEVEN 0050950-
                                                                    0051439
                                                                    CONFIDENTIAL
     85.                                                            ELEVEN 0051444-
                                                                    0051933
                                                                    CONFIDENTIAL
     86.                                                            ELEVEN 0006055-
                                                                    0006056
                                                                    CONFIDENTIAL
     87.                                                            ELEVEN 0005089-
                                                                    00005089
                                                                    CONFIDENTIAL
     88.                                                            ELEVEN 0005085
                                                                    CONFIDENTIAL

     89.                                                            ELEVEN 0006057-
                                                                    0006058
                                                                    CONFIDENTIAL

     90.                                                            ELEVEN 0006059-
                                                                    0006060
                                                                    CONFIDENTIAL


     91.                                                            ELEVEN 0006063-
                                                                    0006065
                                                                    CONFIDENTIAL
     92.     Circa-2011 Eagle Creek, Inc. historic Facebook & on-   GR OPCO 00358023-
             line advertising                                       00358037

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     93.     Oct. 27, 2011 filed U.S. Trademark App. Ser. No.              GR OPCO 00003214-
             85/458,461 for       in Class 36 (“Rental of Homes”)          0003647
             (with prosecution history).
     94.     Oct. 27, 2011 filed U.S. Trademark App. Ser. No.              GR OPCO 00003310-
             86/458,463 for       in Class 39 (with prosecution history)   00003637
     95.     Oct. 27, 2011 filed U.S. Trademark App. Ser. No.              GR OPCO 00003648-
             85/456,466 for       in Class 41 (with prosecution            0003734
             history).
     96.     Oct. 27, 2011 filed U.S. Trademark App. Ser. No.              GR OPCO 00003735-
             85/458,469 for       in Class 43 (“Hotels, Hotel Services,    00003840
             namely, providing luxury hotel accommodations; resort
             lodging services, providing temporary lodging services
             in the nature of a home”) (with prosecution history).
     97.                                                                   ELEVEN 0005090
                                                                           CONFIDENTIAL


     98.                                                                   ELEVEN 0006072
                                                                           CONFIDENTIAL

     99.                                                                   ELEVEN 0021655
                                                                           CONFIDENTIAL
     100.    Nov. 2, 2011 dated State of Delaware Secretary of State       GR OPCO 00001970-
             Division of Corporations’ Certified Copy of 200 Sopris        00001971
             LLC Certificate of Formation (signed by Richard W.
             Hawthorne as Authorized Representative)
     101.    Summary from State of Delaware Secretary of State             GR OPCO 00019022
             Division of Corporations summary regarding 200 Sopris
             LLC
     102.    Executed Warranty Deed to convey Sopris House from            ELEVEN 0051943
             Laurie Ann Kindle and Thomas Keller Loghlin to 200
             Sopris LLC
     103.    Gunnison County Property Records for 200 Sopris Ave.,         GR OPCO 00002611-
             Crested Butte, Colorado (purchased by 200 Sopris LLC          00002616
             on January 5, 2012 for $1,450,000)
     104.    Nov. 3, 2011 dated State of Delaware Secretary of State       GR OPCO 00001983-
             Division of Corporations’ Certified Copy of Eleven            0001984
             Capital Management LLC Certificate of Formation
             (signed by Richard W. Hawthorne as Authorized
             Representative)
     105.    Summary from State of Delaware Secretary of State             GR OPCO 00019023
             Division of Corporations summary regarding Eleven
             Capital Management LLC
                 Plaintiff GR Opco LLC d/b/a E11EVEN’s Exhibit List
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     106.     Nov. 8, 2011 filed U.S. Trademark App. Ser. No.              GR OPCO 00004280-
              85/466,721 for ELEVEN in Class 43 (“Travel agency            00004374
              services, namely, making reservations and booking for
              temporary lodging; providing travel lodging information
              services for travelers”) (with prosecution history).
     107.     Nov. 8, 2011 filed U.S. Trademark App. Ser. No.              GR OPCO 00004199-
              85/466,719 for       in Class 43 (“Travel agency services,   00004279
              namely, making reservations and boking for temporary
              lodging; providing travel lodging information services
              for travelers”) (with prosecution history).
     108.     Nov. 14-15, 2011 e-mail thread with Kyra Martin and A.       ELEVEN 0006078-
              Odom from Feast and Merriment regarding Final Invoice        0006084
              for “Eleven Launch Party”
     109.                                                                  ELEVEN 0024415
                                                                           CONFIDENTIAL

     110.                                                                  ELEVEN 0024416
                                                                           HIGHLY
                                                                           CONFIDENTIAL
     111.     Dec. 6, 2011 filing of “Statement of Trade Name” for         GR OPCO 000017822-
              Crested Butte Club LLC with the State of Colorado for        00017823
              name “Scarp Ridge Lodge” (signed by Richard W.
              Hawthorne)
     112.                                                                  ELEVEN 0005107-
                                                                           0005108
                                                                           CONFIDENTIAL
     113.     Dec. 21, 2011 dated State of Delaware Secretary of State     GR OPCO 00001968-
              Division of Corporations’ Certified Copy of SR Lodge         00001969
              Management LLC Certificate of Formation (signed by
              Richard W. Hawthorne as Authorized Representative)
     114.     Summary from State of Delaware Secretary of State            GR OPCO 00015809
              Division of Corporations summary regarding SR Lodge
              Management LLC
     115.     Report Summary with State of Colorado for SR Lodge           GR OPCO 00015810
              Management LLC, a Delaware Limited Liability
              Company
     116.     Dec. 23, 2011 filed “Statement of Foreign Entity             GR OPCO 00014615-
              Authority” for SR Lodge Management LLC, a Delaware           00014623
              Limited Liability Company, filed with the State of
              Colorado (by Richard W. Hawthorne)
     117.     Period Reports (2014-2022) filed with State of Colorado      GR OPCO 00014624-
              by SR Lodge Management LLC, a Delaware Limited               00015808
              Liability Company (by Richard W. Hawthorne)


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     118.                                                              ELEVEN 0006119
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     119.                                                              ELEVEN 0005422-
                                                                       0005433
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     120.                                                              ELEVEN 0024523-
                                                                       0024531
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     121.                                                              ELEVEN 0024532-
                                                                       0024540
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     122.     Wiggy Kit article “In Conversation with Blake Pike –     GR OPCO 00002527-
              Co-founder of Eleven Experience” addressing how Pike     00002537
              “launched the company in 2011 and opened our first
              property Scarp Ridge Lodge in Crested Butte” available
              at https://www.wiggykit.com/blogs/news/blake-pike
     123.     https://elevencapitalmanagement.com Website              GR OPCO 00001992-
                                                                       00001993
     124.                                                              ELEVEN 0006119 &
                                                                       0006122
                                                                       HIGHLY
                                                                       CONFIDENTIAL

     125.                                                              ELEVEN 0042578-
                                                                       0042579
                                                                       CONFIDENTIAL
     126.                                                              ELEVEN 0006123-
                                                                       0006124
                                                                       CONFIDENTIAL
     127.                                                              ELEVEN 0006126
                                                                       CONFIDENTIAL


     128.                                                              ELEVEN 0006127-
                                                                       0006129
                                                                       CONFIDENTIAL
     129.                                                              ELEVEN 0006130
                                                                       CONFIDENTIAL



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     130.                                                           ELEVEN 0006131-
                                                                    0006182
                                                                    CONFIDENTIAL
     131.                                                           ELEVEN 0005109-
                                                                    0005139
                                                                    CONFIDENTIAL
     132.                                                           ELEVEN 0006213
                                                                    CONFIDENTIAL


     133.                                                           ELEVEN 0006214-
                                                                    0006242
                                                                    CONFIDENTIAL
     134.                                                           ELEVEN 0005140-
                                                                    0005171
                                                                    CONFIDENTIAL
     135.                                                           ELEVEN 0006306-
                                                                    0006310
                                                                    CONFIDENTIAL



     136.                                                           ELEVEN 0005173-
                                                                    0005191
                                                                    CONFIDENTIAL
     137.                                                           ELEVEN 0005192-
                                                                    0005194
                                                                    CONFIDENTIAL
     138.                                                           ELEVEN 0019158
                                                                    CONFIDENTIAL
     139.                                                           ELEVEN 0000020 –
                                                                    0000024 HIGHLY
                                                                    CONFIDENTIAL

     140.                                                           ELEVEN 0006311-
                                                                    0006312
                                                                    CONFIDENTIAL



     141.    Aug. 12, 2012 launch of @ElevenExperience “Travel           GR OPCO 0001352-
             Company” Instagram Page (35.7K current followers)           00001403
             and @ElevenExperience Instagram Page
      142.   Sept. 9, 2012 Daily Mail article by Alice Azania Jarvis     GR OPCO 00001533-
             entitled “Village at war with its American squire:          00001573
                   Plaintiff GR Opco LLC d/b/a E11EVEN’s Exhibit List
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              Furious that a U.S. millionaire is turning their idyllic
              parish into a theme park” available at
              https://www.dailymail.co.uk/news/article-
              2200804/Furious-U-S-millionaire-turning-idyllic-parish-
              theme-park-locals-fighting--Asbo.html
     143.                                                                ELEVEN 0001005
                                                                         HIGHLY
                                                                         CONFIDENTIAL
     144.     Nov. 16, 2012 dated Hotel Chic article by Sara Bliss       GR OPCO 00002640-
              “Get the Look: Colorado’s Scarp Ridge Lodge”               00002646
              regarding its history as “a former 19th-century brothel”
              available at http://hotelchicblog.com/get-the-look-
              colorados-scarp-ridge-lodge/
     145.                                                                ELEVEN 0006329-
                                                                         0006332
                                                                         CONFIDENTIAL


     146.    Dec. 10, 2012 filing of “Articles of Organization for       GR OPCO 00013339-
             Florida Limited Liability Company” with the State of        00013343
             Florida Department of State Division of Corporations for
             “GR OPCO LLC” by attorney Joseph M. Hernandez.
      147.                                                               GR OPCO 00021625-
                                                                         00021673
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      148.   GR Opco, LLC d/b/a E11EVEN LinkedIn Profile                 GR OPCO 00002818-
                                                                         00002810
      149.   LinkedIn Profiles for E11EVEN executives                    GR OPCO 00002820-
                                                                         00002846
      150.   Annual Reports & related filings with State of Florida      GR OPCO 00013344-
             Department of State Division of Corporations relating to 00013410
             GR OPCO LLC (including World Class Investors, LLC,
             11 USA Group LLC & Elevision Investments, LLC)
      151.   Dec. 10, 2012 dated Just Luxe Article by Jared Paul         GR OPCO 00002648-
             Stern entitled “Luxury Travel Brand Eleven Experience       00002650
             to Open 11 Properties by 2015” available at
             https://www.justluxe.com/luxe-insider/trends/feature-
             1863216.php
      152.   The Ski Journal Article by John Website entitled            GR OPCO 00001512-
             “Eleven Experience: Cat Skiing in Crested Butte, CO)”       00001519
             at https://www.theskijournal.com/exclusive/scarp-ridge-
             lodge-eleven-experience/
      153.   Jan. 3, 2013 filed “Statement of Foreign Entity             GR OPCO 00019025-
             Authority” for Grassy Creek, LLC, a Delaware Limited        00019027
                   Plaintiff GR Opco LLC d/b/a E11EVEN’s Exhibit List
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              Liability Company, filed with the State of Colorado (by
              Richard W. Hawthorne)
     154.     Periodic Reports (2014-2023) filed with State of          GR OPCO 00019028-
              Colorado by Grassy Creek, LLC, LLC, a Delaware            00020212; 00021158-
              Limited Liability Company (by Richard W. Hawthorne)       00021159
     155.     Report Summary with State of Colorado for Grassy          GR OPCO 00020213
              Creek, a Delaware Limited Liability Company
     156.                                                               ELEVEN 0006343-
                                                                        0006346
                                                                        CONFIDENTIAL




     157.                                                               ELEVEN 0006347-
                                                                        0006378
                                                                        CONFIDENTIAL


     158.                                                               GR OPCO 00024126-
                                                                        00024143
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     159.                                                               ELEVEN 0019138-
                                                                        0019141
                                                                        CONFIDENTIAL
     160.                                                               GR OPCO 00024104
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     161.                                                               GR OPCO 00024113-
                                                                        00024116
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     162.                                                               GR OPCO 00024105-
                                                                        00024107
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     163.     June 15, 2013 email exchange with Michael Simkins,        GR OPCO 00024108-
              Dennis Degori and Marc Roberts how “we’ve chosen          00024109
              Eleven Miami” for the name of the nightclub concept.
     164.                                                               GR OPCO 00024089-
                                                                        00024091
                                                                        HIGHLY
                                                                        CONFIDENTIAL
                 Plaintiff GR Opco LLC d/b/a E11EVEN’s Exhibit List
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     165.     John Masse LinkedIn Profile                              GR OPCO 00000317-
                                                                       00000320
     166.     @ItsMasse Instagram Page for John Masse                  GR OPCO 0000195-
                                                                       00000316
     167.                                                              GR OPCO 00024081-
                                                                       00024084
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     168.                                                              GR OPCO 0024085-
                                                                       00024088
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     169.     July 6, 2013 email from Dennis Degori about searching    GR OPCO 00024094-
              for domain name availability.                            0024098
     170.                                                              GR OPCO 00021160-
                                                                       00021174
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     171.                                                              GR OPCO 00022397-
                                                                       00022469
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     172.                                                              GR OPCO 00021175-
                                                                       00021220
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     173.                                                              GR OPCO 00024078-
                                                                       00024080
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     174.                                                              GR OPCO 00021221-
                                                                       00021223
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     175.                                                              ELEVEN 0006548-
                                                                       0006550
                                                                       CONFIDENTIAL
     176.                                                              ELEVEN 0006554-
                                                                       0006557
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     177.     Aug. 1, 2013 filed U.S. Trademark App. Ser. No.          GR OPCO 00004375-
              86/026,194 by GR Opco LLC for                 in Class   00004522
              041 (“Entertainment services in the nature of nude
                 Plaintiff GR Opco LLC d/b/a E11EVEN’s Exhibit List
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              dancing, adult entertainment, and cabaret
              performances”) (with prosecution history).
     178.                                                        ELEVEN 0006579-
                                                                 0006580
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     179.                                                        ELEVEN 0006593-
                                                                 0006594
                                                                 CONFIDENTIAL

     180.                                                        GR OPCO 00021224-
                                                                 00021259
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     181.                                                        GR OPCO 00024037-
                                                                 0002404
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     182.                                                        GR OPCO 00024092-
                                                                 00024093
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     183.                                                        ELEVEN 0006598-
                                                                 0006601
                                                                 HIGHLY
                                                                 CONFIDENTIAL

     184.                                                        GR OPCO 00021260-
                                                                 00021313
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     185.                                                        GR OPCO 00021315-
                                                                 00021326
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     186.                                                        GR OPCO 00021314
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     187.                                                        GR OPCO 00021327-
                                                                 00021334
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     188.                                                        GR OPCO 00021335-
                                                                 00021336

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                                                                 HIGHLY
                                                                 CONFIDENTIAL
     189.                                                        GR OPCO 00021344-
                                                                 00021353
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     190.                                                        ELEVEN 0000025-
                                                                 000026
                                                                 HIGHLY
                                                                 CONFIDENTIAL


     191.                                                        ELEVEN 0000027-
                                                                 0000029 HIGHLY
                                                                 CONFIDENTIAL


     192.                                                        ELEVEN 0005227
                                                                 CONFIDENTIAL
     193.                                                        ELEVEN 0006631-
                                                                 0006633
                                                                 CONFIDENTIAL
     194.                                                        ELEVEN 0006634-
                                                                 0006635
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     195.                                                        GR OPCO 00021402
                                                                 HIGHLY
                                                                 CONFIDENTIAL

     196.     Christopher Allen LinkedIn Profile                 GR OPCO 000000354-
                                                                 00000358
     197.     HKM Productions LinkedIn Profile                   GR OPCO 00000359-
                                                                 00000365
     198.     HKM Productions Corporate Info                     GR OPCO 00000352-
                                                                 00000353
     199.     HKM Productions website at                         GR OPCO 00000324-
              https://www.KHMProductions.com                     00000351
     200.                                                        ELEVEN 000667-
                                                                 0006679
                                                                 CONFIDENTIAL
     201.                                                        ELEVEN 0006681-
                                                                 0006682
                                                                 CONFIDENTIAL

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     202.                                                            GR OPCO 00021403-
                                                                     00021406
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     203.     Sep                                                    ELEVEN 0006694
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     204.                                                            ELEVEN 0006692-
                                                                     0006693
                                                                     CONFIDENTIAL

     205.                                                            ELEVEN 0005266-
                                                                     0005271
                                                                     CONFIDENTIAL
     206.                                                            ELEVEN 0040996
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     207.     Archive.org “Wayback Machine Capture” of Coburn        GR OPCO 00002676-
              information about “Scarp Ridge Lodge” renovation       00002679
              (dated Oct. 2, 2014)
     208.                                                            ELEVEN 0040993
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     209.                                                            ELEVEN 00000063
                                                                     CONFIDENTIAL


     210.                                                            ELEVEN 0006724-
                                                                     0006727
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     211.     Oct. 16, 2013 dated Luxury Travel Advisor article by   GR OPCO 00001446-
              Meagan Drillinger entitled “Elevated Adventure with    00001449
              Eleven Experiences”
     212.                                                            ELEVEN 0006785-
                                                                     0006771
                                                                     HIGHLY
                                                                     CONFIDENTIAL

     213.                                                                GR OPCO 00021407-
                                                                         00021437
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      214.   Nov. 2013 Press Release                                     GR OPCO 00130026-
                                                                         00130069
                  Plaintiff GR Opco LLC d/b/a E11EVEN’s Exhibit List
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     215.                                                              ELEVEN 0040998-
                                                                       0041012
                                                                       CONFIDENTIAL
     216.                                                              ELEVEN 0005290
                                                                       CONFIDENTIAL
     217.                                                              GR OPCO 00021478-
                                                                       00021521
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     218.     Nov. 11, 2013 Miami Herald Article entitled              GR OPCO 00013064-
              “Introducing E11EVEN, Miami’s New Nightclub and          00013068
              Dayclub” discussing how “new 25,000-square-foot
              venue will over Cirque du Soleil-style performances”
              and how owners “put $40 million into the new spot when
              they purchased the building and land last December”
              2012.
     219.                                                              ELEVEN 0005282-
                                                                       5303
                                                                       CONFIDENTIAL
     220.                                                              ELEVEN 0041062-
                                                                       0041065
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     221.                                                              ELEVEN 0041036-
                                                                       0041038
                                                                       CONFIDENTIAL

     222.                                                              ELEVEN 0006881
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     223.                                                              ELEVEN 0041072-
                                                                       0041075
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     224.                                                              ELEVEN 0041076-
                                                                       0041077
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     225.                                                              ELEVEN 0006884-
                                                                       0006886
                                                                       HIGHLY
                                                                       CONFIDENTIAL



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     226.                                                             ELEVEN 0005305-
                                                                      0005309
                                                                      CONFIDENTIAL
     227.                                                             ELEVEN 0041080-
                                                                      0041081
                                                                      CONFIDENTIAL
     228.                                                             ELEVEN 0040182
                                                                      CONFIDENTIAL
     229.                                                             ELEVEN 0041084-
                                                                      0041086
                                                                      CONFIDENTIAL
     230.                                                             ELEVEN 0041093-
                                                                      0041096
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     231.                                                             ELEVEN 0041121
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     232.                                                             ELEVEN 0041091
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     233.     SKC Group Website at https://www.SKC.Agency             GR OPCO 00000409-
                                                                      00000454
     234.     @11Miami Twitter Feed (with 423K followers)             GR OPCO 00000769-
                                                                      00001214
     235.     Nov.-Dec. 2013 Twitter advertising @11Miami by GR       GR OPCO 00001211-
              Opco LLC for E11EVEN MIAMI mark                         00001214
     236.     Dec. 14, 2013 Instagram Post by Shantra Entertainment   GR OPCO 0023791
              regarding E11EVEN Open Auditions (discussing Dec.18
              Miami Audition / Dec. 20 New York Audition
     237.     Dec. 18, 2013 invitation for E11EVEN Open Auditions     GR OPCO 00023723
     238.                                                             GR OPCO 0027633-
                                                                      0027673
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     239.                                                             ELEVEN 0041126-
                                                                      0041128
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     240.                                                             ELEVEN 0041160
                                                                      HIGHLY
                                                                      CONFIDENTIAL

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     241.                                                               ELEVEN 0041137-
                                                                        0041141
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     242.                                                               ELEVEN 0041134-
                                                                        0041146
                                                                        CONFIDENTIAL
     243.                                                               ELEVEN 0041131-
                                                                        0041132
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     244.     Jan. 16, 2014 filing of “Statement of Trade Name” for     GR OPCO 00020229-
              Irwin Backcountry Guides LLC with the State of            00020230
              Colorado for “Adventure travel services including
              accommodations, food and lodging” (signed by Richard
              W. Hawthorne)
     245.     Jan. 16, 2014 filing of “Statement of Trade Name” for     GR OPCO 00020235-
              Irwin Backcountry Guides LLC with the State of            00020236
              Colorado for “Adventure travel services including
              accommodations, food and lodging” (signed by Richard
              W. Hawthorne)
     246.                                                               ELEVEN 0041127
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     247.     Jan. 29, 2014 article in EATER Miami by Ana Heretoiu      GR OPCO 00002538
              entitled “It’s About to Go Down at E11EVEN, Miami’s
              24/7 Club” available at
              https://miami.eater.com/2014/1/29/6289061/its-about-to-
              go-down-at-e11even-miamis-24-7-club
     248.                                                               GR OPCO 00021454-
                                                                        00021455
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     249.                                                               ELEVEN 0041230-
                                                                        0041231
                                                                        CONFIDENTIAL
     250.                                                               ELEVEN 0041232
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     251.     Image of flying E11EVEN banner (announcing Feb. 7-        GR OPCO 00023720
              9, 2014 Grand Opening Weekend)
     252.     Feb. 4, 2014 E11EVEN Dress Rehearsal Invitation           GR OPCO 00023722
     253.     Feb. 5, 2014 E11EVEN Media Viewing Invitation             GR OPCO 00023724
     254.     E11EVEN Grand Opening Weekend Brochure                    GR OPCO 00023721

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     255.                                                               GR OPCO 00021458-
                                                                        00021460
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     256.                                                               GR OPCO 00130010-
                                                                        00130025
                                                                        CONFIDENTIAL
     257.     Feb. 11, 2014 Miami Herald entitled “Velvet               GR OPCO 00013263-
              Underground: Valentine’s Day Parties Take Over            00013269
              Nightlife” addressing the “adult entertainment
              destination featuring “expensive, high tech sound,
              lightning and entertainment . . . mixed with Cirque du
              Soleil style performers”
     258.     Feb. 12, 2014 filing of “Statement of Trade Name” for     GR OPCO 00020231-
              Irwin Backcountry Guides LLC with the State of            00020232
              Colorado for “Adventure travel services including
              accommodations, food and lodging” (signed by Richard
              W. Hawthorne)
     259.                                                               ELEVEN 0041242 &
                                                                        0041292-0041293
                                                                        CONFIDENTIAL
     260.                                                               ELEVEN 0041295
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     261.                                                               ELEVEN 0041325
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     262.                                                               ELEVEN 0041327
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     263.                                                               ELEVEN 0041329-
                                                                        0041332
                                                                        CONFIDENTIAL
     264.                                                               ELEVEN 0041337-
                                                                        0041340
                                                                        CONFIDENTIAL
     265.                                                               ELEVEN 0041347-
                                                                        0041348
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     266.     Mar. 5, 2014 email from Sarah Stoll to Caroline Pierce,   ELEVEN 0041349
              Cassia Cadenhead, and Kyra Martin circulating the 2013    CONFIDENTIAL
              summer release form


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     267.                                                             ELEVEN 0041371-
                                                                      0041380
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     268.                                                             ELEVEN 0005325-
                                                                      0005342
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     269.                                                             ELEVEN 0006918
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     270.     Apr. 1, 2014 Meeting Minutes for Gunnison County        GR OPCO 00001957-
              Board of County Commissioners                           00001959
     271.     Apr. 6, 2014 Meeting Minutes for Gunnison County        GR OPCO 00001961-
              Board of County Commissioners (presentation by          00001966
              attorney Coates on behalf of Irwin Backcountry Guides
              in support of private liquor license)
     272.                                                             ELEVEN 0006927
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     273.                                                             ELEVEN 0006939-
                                                                      0006942
                                                                      HIGHLY
                                                                      CONFIDENTIAL

     274.                                                             ELEVEN 0006956-
                                                                      0006958
                                                                      CONFIDENTIAL
     275.                                                             ELEVEN 0025398-
                                                                      0025403
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     276.                                                             ELEVEN 0025404-
                                                                      0025409
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     277.                                                             ELEVEN 0025424-
                                                                      0025430
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     278.     June 13, 2014 approved liquor license for Scarp Ridge   GR OPCO 00001951-
              Lodge (issued by Colorado Department of Revenue)        00001953
     279.                                                             ELEVEN 0000317-
                                                                      0000331

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                                                                          HIGHLY
                                                                          CONFIDENTIAL

     280.                                                                 ELEVEN 0000114-
                                                                          0000129
                                                                          HIGHLY
                                                                          CONFIDENTIAL

     281.     U.S. Trademark Reg. No. 4,874,841 issued to GR Opco         ELEVEN 0002421
              LLC for the mark E11EVEN MIAMI (stylized+design)
              in Class 41 (“entertainment services in the nature of
              nude dancing, adult entertainment, and cabaret
              performances”) with First Use in Commerce date of Feb.
              7, 2014.
     282.     U.S. Trademark Reg. No. 5,921,909 issued to GR Opco         ELEVEN 0002405
              LLC for the standard character mark E11EVEN in Class
              25 (“clothing, namely, shirts, swimwear, footwear,
              headwear”); Class 33 (“spirits and liquors”) and Class 43
              (“services providing food and beverage, namely,
              restaurant and bar services; serving of food and drinks
              provided at a nightclub; providing temporary
              accommodation at hotel”).
     283.     June 3, 2014 Bloomberg Article by Claire Martin             ELEVEN 0000140-
              entitled “Blackstone Exec Builds Vacation Empire with       0000146
              Luxury in Outdoors” available at
              https://www.bloomberg.com/news/articles/2014-06-
              03/on-these-vacations-luxury-lodges-elevate-great-
              outdoors#xj4y7vzkg
     284.                                                                 ELEVEN 0000064-
                                                                          0000065
                                                                          CONFIDENTIAL

     285.     June 20, 2014 Miami Herald article by Lesley Abravanel      GR OPCO 00013156-
              entitled “Sean Combs sounds good at E11EVEN.”               00013159
     286.     June 23, 2014 Miami Herald article entitled “Irie           GR OPCO 00013069-
              Weekend Ends with Birthday Bash at E11EVEN”                 00013072
              discussing the “Cirque du Soleil style performances”
              attended by MC Jamie Foxx, Floyd Mayweather Jr, and
              Shawn Marion.
     287.                                                                 ELEVEN 0019829-
                                                                          0020022
                                                                          HIGHLY
                                                                          CONFIDENTIAL
     288.                                                                 ELEVEN 0019451

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                                                                       HIGHLY
                                                                       CONFIDENTIAL
     289.                                                              GR OPCO 00164914-
                                                                       00164919
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     290.     July 1, 2014 email exchange between Ken Degori and       GR OPCO 00128567-
              Dennis Degori regarding media coverage                   00128569
     291.                                                              ELEVEN 0000071-
                                                                       0000081
                                                                       CONFIDENTIAL
     292.                                                              GR OPCO 00164980-
                                                                       00164987
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     293.                                                              GR OPCO 00164920-
                                                                       00164979
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     294.     July 18, 2014 Miami Herald article by Lesley Abravanel   GR OPCO 00013055-
              entitled “Heat’s Luol Deng Gets Warm Welcome at          00013058
              E11EVEN”
     295.     July 29, 2014 Carma Press Outtake                        GR OPCO 00165470
     296.                                                              GR OPCO 00166164-
                                                                       00166246
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     297.                                                              ELEVEN 0000066-
                                                                       0000068
                                                                       CONFIDENTIAL
     298.                                                              ELEVEN 0000069-
                                                                       0000070
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     299.                                                              ELEVEN 0019136-
                                                                       0019137
                                                                       CONFIDENTIAL
     300.                                                              GR OPCO 000167426-
                                                                       00167481
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     301.     Oct. 2014 Carma Impression Report                        GR OPCO 00168240-
                                                                       00168299


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     302.                                                             ELEVEN 0006987-
                                                                      0006988
                                                                      CONFIDENTIAL
     303.                                                             ELEVEN 0021975-
                                                                      0021981
                                                                      CONFIDENTIAL
     304.                                                             ELEVEN 0041519-
                                                                      0041523
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     305.     Nov. 14, 2014 filing of “Statement of Trade Name” for   GR OPCO 00015830-
              CS Irwin LLC with the State of Colorado describing      00015831
              services as “adventure travel services including
              accommodations, food and lodging” (signed by Richard
              W. Hawthorne)
     306.                                                             ELEVEN 0005451-
                                                                      0005517
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     307.                                                             ELEVEN 0007011-
                                                                      0007012
                                                                      CONFIDENTIAL

     308.                                                                ELEVEN 0007019
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      309.                                                               ELEVEN 0007022
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      310.                                                               GR OPCO 00169846-
                                                                         00169928
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      311.                                                               ELEVEN 0052538-
                                                                         0052542
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      312.                                                               ELEVEN 0007021
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      313.                                                               ELEVEN 0041516
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      314.   Dec. 2014 Miami Herald article by Lesley Abravanel          GR OPCO 00013329-
             entitled “Usher to host E11EVEN’s NYE Party”                00013333
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     315.     2014 Financial Summary                                   GR OPCO 00130537
     316.                                                              ELEVEN 0042341
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     317.                                                              ELEVEN 0043284-
                                                                       0043637
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     318.     Jan. 1, 2015 Carma People Excerpt                        GR OPCO
                                                                       0017136600171367
     319.                                                              ELEVEN 0005518-
                                                                       0005519
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     320.     Jan. 19, 2015 Miami Herald Article by Lesley Abravanel   GR OPCO 00013160-
              entitled “Soccer, NBA stars party at E11EVEN”            00013164
              regarding visit by Renaldo and Russell Westbrook.
     321.     Carma Report on Jan. 28, 2015 article                    GR OPCO 00171860-
                                                                       00171861
     322.     Carma report on Jan. 29, 2015 E11EVEN event              GR OPCO 00171879
     323.                                                              ELEVEN 0005521-
                                                                       0005523
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     324.     Feb. 9, 2015 article in the Miami Herald by Lesley       GR OPCO 00012789-
              Abravanel entitled “Epic Party at E11EVEN celebs get     00012793
              together for Carnival”
     325.                                                              ELEVEN 0041570 &
                                                                       0041573
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     326.                                                              ELEVEN 0041576
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     327.                                                              GR OPCO 00172879-
                                                                       00172885
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     328.                                                              ELEVEN 0041580 &
                                                                       41583
                                                                       HIGHLY
                                                                       CONFIDENTIAL



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     329.                                                        ELEVEN 0007053-
                                                                 0007056
                                                                 CONFIDENTIAL
     330.                                                        ELEVEN 0041589-
                                                                 0041593
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     331.                                                        ELEVEN 0007048-
                                                                 0007052
                                                                 CONFIDENTIAL



     332.                                                        ELEVEN 0007057-
                                                                 0007067
                                                                 CONFIDENTIAL
     333.                                                        ELEVEN 0007076-
                                                                 0007083
                                                                 CONFIDENTIAL
     334.                                                        GR OPCO 00174020-
                                                                 00174115
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     335.                                                        ELEVEN 0000099-
                                                                 0000113
                                                                 HIGHLY
                                                                 CONFIDENTIAL

     336.                                                        ELEVEN 0007127-
                                                                 0007138
                                                                 CONFIDENTIAL
     337.                                                        ELEVEN 0041622
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     338.                                                        ELEVEN 0041626-
                                                                 0041657
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     339.                                                        ELEVEN 0041673-
                                                                 0041678
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     340.                                                        ELEVEN 0007298-
                                                                 0007303

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                                                                         HIGHLY
                                                                         CONFIDENTIAL
      341.                                                               ELEVEN 0007193
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      342.                                                               ELEVEN 0041690-
                                                                         0041691
                                                                         CONFIDENTIAL
      343.   Apr. 2015 Spin Artist Contract                              GR OPCO 00130062-
                                                                         00130069
      344.                                                               ELEVEN 0041694-
                                                                         0041695
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      345.                                                               ELEVEN 0041708-
                                                                         0041710 & 0041715-
                                                                         0041717
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      346.                                                               ELEVEN 0007336-
                                                                         0007403
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      347.                                                               ELEVEN 0007551
                                                                         CONFIDENTIAL
      348.                                                               ELEVEN 0041743
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      349.                                                               ELEVEN 0041804-
                                                                         0041806
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      350.                                                               ELEVEN 0041910
                                                                         CONFIDENTIAL
      351.                                                               ELEVEN 0041911-
                                                                         0041935
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      352.                                                               ELEVEN 0041910-
                                                                         0041935
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      353.                                                               ELEVEN 0005547
                                                                         HIGHLY
                                                                         CONFIDENTIAL
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     354.                                                               GR OPCO 00177147-
                                                                        00177197
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     355.                                                               ELEVEN 0041940-
                                                                        0041964
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     356.     June 23, 2015 Carma Press Excerpts                        GR OPCO 00176577
     357.                                                               ELEVEN 0042141-
                                                                        0042151
                                                                        CONFIDENTIAL
     358.                                                               ELEVEN 0042067
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     359.                                                               ELEVEN 0042167
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     360.                                                               ELEVEN 0042169-
                                                                        0042191
                                                                        CONFIDENTIAL
     361.                                                               ELEVEN 0005541-
                                                                        0005546
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     362.     July 2015 Operating Plan for the 74’ Hatteras             ELEVEN 0051958-
                                                                        0051969
     363.                                                               GR OPCO 00177198-
                                                                        00177248
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     364.     July 6, 2015 Miami Herald article by Lesley Abravanel     GR OPCO 00013050-
              entitled “Happy 40th Birthday for 50 Cent at Bagatelle”   00013054
     365.     July 7, 2015 Meeting Minutes for Gunnison County          GR OPCO 00001947-
              Board of County Commissioners regarding Irwin             00001950
              Backcountry Guides efforts to obtain a license (and
              presentation by Kyra Martin)
     366.     July 8, 2015 filing of “Statement of Trade Name” for      GR OPCO 00013428-
              Taylor River Canyon LLC with the State of Colorado        00013429
              describing services as “real estate asset and lodging
              site.” (signed by Richard W. Hawthorne)
     367.                                                               ELEVEN 0007663-
                                                                        0007674
                                                                        CONFIDENTIAL

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     368.                                                              ELEVEN 0007688-
                                                                       0007689
                                                                       CONFIDENTIAL
     369.                                                              ELEVEN 0007790
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     370.                                                              GR OPCO 00178519-
                                                                       00178598
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     371.                                                              GR OPCO 00177978-
                                                                       00177989
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     372.                                                              ELEVEN 0007791-
                                                                       0007794
                                                                       CONFIDENTIAL
     373.     Aug. 2015 People Magazine coverage of E11EVEN            GR OPCO 00131076-
                                                                       00131077
     374.                                                              ELEVEN 0007800-
                                                                       0007835
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     375.                                                              ELEVEN 0042203-
                                                                       0042209
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     376.                                                              ELEVEN 0042211-
                                                                       0042213
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     377.     Aug. 12, 2015 filed State of Florida Fictitious Name     ELEVEN 0000413-
              Registration (Exp. Dec. 31, 2020) in Monroe County for   0000414
              ELEVEN (owned by Silver Sides LLC) signed by A.
              Pike
     378.     Aug 12, 2015 State of Florida Fictitious Name            ELEVEN 0053451
              Registration for ELEVEN (web print out via Sunbiz.org)
              by Silver Sides LLC
     379.                                                              ELEVEN 0007860-
                                                                       0007868
                                                                       CONFIDENTIAL
     380.                                                              ELEVEN 0007860-
                                                                       0007868
                                                                       CONFIDENTIAL

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     381.                                                           ELEVEN 0007869-
                                                                    0007877
                                                                    CONFIDENTIAL

     382.                                                           ELEVEN 0007888-
                                                                    0007906
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     383.                                                           ELEVEN 0007878-
                                                                    0007886
                                                                    CONFIDENTIAL
     384.                                                           GR OPCO 00179386-
                                                                    00189390
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     385.                                                           ELEVEN 0053461-
                                                                    0053464
                                                                    CONFIDENTIAL
     386.                                                           ELEVEN 0007912-
                                                                    0007914
                                                                    CONFIDENTIAL
     387.                                                           ELEVEN 0005555-
                                                                    0005556
                                                                    CONFIDENTIAL
     388.                                                           ELEVEN 0042335-
                                                                    0042336
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     389.     Sept. 13, 2015 dated Archive.org “Wayback Machine”    GR OPCO 00002670
              capture of the Crested Butte Chamber info on Eleven   & 00002675
              Experience, Scarp Ridge Lodge & Irwin Backcountry
              Mountain Guides
     390.                                                              GR OPCO 00179625-
                                                                       00179698
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     391.                                                              ELEVEN 0007966-
                                                                       0007970
                                                                       CONFIDENTIAL
     392.     Sept. 25, 2015 e-mail to Ian Huschle regarding Oct. 2015 ELEVEN 0005558-
              planned launch of Blue Moon                              0005572


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     393.                                                            ELEVEN 0042342
                                                                     CONFIDENTIAL
     394.                                                            ELEVEN 0000130-
                                                                     0000139
                                                                     CONFIDENTIAL
     395.     Oct. 19, 2015 email exchange between Eddie Franco and GR OPCO 00131613-
              Gino LoPinto                                           00131614
     396.                                                            GR OPCO 00182599-
                                                                     00182602
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     397.                                                            ELEVEN 0019163-
                                                                     0019165
                                                                     CONFIDENTIAL
     398.                                                            GR OPCO 00182609-
                                                                     00182692
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     399.                                                            ELEVEN 0052402-
                                                                     0052402
                                                                     CONFIDENTIAL
     400.     Nov. 16, 2015 Miami Herald article by Lesley Abravanel GR OPCO 00013101-
              entitled “Naomi Campbell eyed at E11EVEN”              00013105
              addressing Flo Rida also in attendance.
     401.     Nov. 20, 2015 email exchange between Daniel Solomon GR OPCO 00131616-
              and Elizabeth Johnston                                 00131618
     402.                                                            GR OPCO 00182224-
                                                                     00182225
                                                                     CONFIDENTIAL
     403.                                                            GR OPCO 00182603-
                                                                     00182607
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     404.                                                            GR OPCO 00183544-
                                                                     00186565
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     405.     Dec. 2, 2015 email from Daniel Solomon concerning Art GR OPCO 00131870-
              Basel                                                  00131875
     406.     Dec. 3, 2015 dated Archive.org “Wayback Machine”       GR OPCO 00002673-
              capture of the Crested Butte Chamber’s info on Eleven  00002674
              Experience & Irwin Backcountry Mountain Guides
     407.                                                            GR OPCO 00183568-
                                                                     00183623

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                                                                         HIGHLY
                                                                         CONFIDENTIAL
      408.   Dec. 11, 2015 email from Daniel Solomon related to Art GR OPCO 00132476-
             Basel confirmations                                         00132478
      409.                                                               ELEVEN 0042371-
                                                                         0042374
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      410.                                                               GR OPCO 00184585
                                                                         CONFIDENTIAL
      411.                                                               ELEVEN 0008542-
                                                                         0008575
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      412.   Drake New Year’s Eve 2016 Advertisement                     GR OPCO 00184194
      413.                                                               ELEVEN 0052377-
                                                                         0052384
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      414.                                                               ELEVEN 0008495-
                                                                         0008497
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      415.                                                               ELEVEN 0052373
                                                                         CONFIDENTIAL
      416.                                                               ELEVEN 0008498-
                                                                         0008500
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      417.                                                               ELEVEN 0008501-
                                                                         0008502
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      418.                                                               ELEVEN 0008507-
                                                                         0008510
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      419.                                                               ELEVEN 0008511-
                                                                         0008514
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      420.                                                               ELEVEN 0000147-
                                                                         0000149
                                                                         HIGHLY
                                                                         CONFIDENTIAL
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     421.                                                                ELEVEN 0008519-
                                                                         0008522
                                                                         HIGHLY
                                                                         CONFIDENTIAL
     422.                                                                ELEVEN 0008579-
                                                                         0008584
                                                                         CONFIDENTIAL
     423.                                                                ELEVEN 0008608-
                                                                         0008612
                                                                         CONFIDENTIAL
     424.                                                                ELEVEN 0008619-
                                                                         0008622
                                                                         HIGHLY
                                                                         CONFIDENTIAL
     425.                                                                ELEVEN 0008636-
                                                                         0009263
                                                                         HIGHLY
                                                                         CONFIDENTIAL
     426.                                                                GR OPCO 00133794-
                                                                         00133768
                                                                         HIGHLY
                                                                         CONFIDENTIAL
     427.     Feb. 15, 2016 check for $2,347 to Geico Marine from        ELEVEN 0005598
              Silver Sides LLC for insurance binder
     428.                                                                GR OPCO 00133777-
                                                                         00133780
                                                                         CONFIDENTIAL
     429.     Feb. 18, 2016 filed U.S. Trademark App. Ser. No.           GR OPCO 00005454-
              86/911,969 for      in Class 39 (“Yacht and boat charter   0005500
              services”) (with prosecution history).
     430.     Feb. 22, 2016 filed U.S. Trademark App. Ser. No.           GR OPCO 00005501-
              86/912,308 for ELEVEN in Class 39 (“Yacht and boat         00005547
              charter services”) (with prosecution history).
     431.     Feb. 26, 2016 Miami Herald article entitled “Who was       GR OPCO 00013314-
              spotted at E11EVEN Miami?” regarding Von Miller,           00013318
              Andrew Bogut, Leandro Barbosa, Luol Deng, Jordan
              Reed, and Tramaine Brock at club
     432.                                                                GR OPCO 00191501-
                                                                         00191593
                                                                         HIGHLY
                                                                         CONFIDENTIAL
     433.                                                                ELEVEN 0009294-
                                                                         0009297
                                                                         CONFIDENTIAL

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     434.                                                             ELEVEN 0051991
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     435.                                                             ELEVEN 0009317
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     436.                                                             ELEVEN 0052591-
                                                                      0052594
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     437.                                                             ELEVEN 0009330-
                                                                      0009334
                                                                      HIGHLY
                                                                      CONFIDENTIAL

     438.                                                             ELEVEN 0016157-
                                                                      0016210
                                                                      CONFIDENTIAL
     439.                                                             ELEVEN 0051974-
                                                                      0051986
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     440.                                                             ELEVEN 0009341
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     441.     Mar. 24, 2016 filed U.S. Trademark App. Ser. No.        GR OPCO 00005643-
              86/952,268 for BLUE MOON EXPEDITIONS in                 00005676
              Class 39 (“Yacht chartering services; Yacht and boat
              charter services; conducting fishing charters”) (with
              prosecution history).
     442.                                                                ELEVEN 0000151-
                                                                         0000156
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      443.                                                               ELEVEN 0019160-
                                                                         0019161
                                                                         CONFIDENTIAL
      444.                                                               ELEVEN 0009382-
                                                                         0009383
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      445.                                                               GR OPCO 00191399-
                                                                         00191500
                                                                         HIGHLY
                                                                         CONFIDENTIAL
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     446.                                                                ELEVEN 0009390-
                                                                         0009391
                                                                         CONFIDENTIAL
     447.                                                                ELEVEN 0009400
                                                                         CONFIDENTIAL
     448.                                                                ELEVEN 0009418-
                                                                         0009421
                                                                         HIGHLY
                                                                         CONFIDENTIAL
     449.                                                                ELEVEN 0009435-
                                                                         0009460
                                                                         HIGHLY
                                                                         CONFIDENTIAL
     450.                                                                ELEVEN 0009502
                                                                         HIGHLY
                                                                         CONFIDENTIAL

     451.                                                                ELEVEN 0012042-
                                                                         0012095
                                                                         CONFIDENTIAL
     452.     Apr. 23, 2016 Miami Herald article entitled “Paint party   GR OPCO 00013128-
              at Fire & Ice, bike to PAMM, Cinco De Mayo at              000131132
              E11EVEN and Jazz at Wynwood Park”
     453.                                                                ELEVEN 0009709-
                                                                         0009710
                                                                         CONFIDENTIAL
     454.                                                                GR OPCO 00190777-
                                                                         00190872
                                                                         HIGHLY
                                                                         CONFIDENTIAL
     455.     Apr. 30, 2016 Miami Herald article entitled “Ringside at   GR OPCO 00013149-
              E11EVEN, a Marley at Wynwood Yard, Sake Mondays            00013155
              at Katsuya, Yappy Hour at Lique & Jellybean does disco
              at Boca Resort.
     456.                                                                ELEVEN 0009788
                                                                         HIGHLY
                                                                         CONFIDENTIAL
     457.                                                                ELEVEN 0009803-
                                                                         0009810
                                                                         HIGHLY
                                                                         CONFIDENTIAL
     458.                                                                ELEVEN 0043679
                                                                         HIGHLY
                                                                         CONFIDENTIAL

                 Plaintiff GR Opco LLC d/b/a E11EVEN’s Exhibit List
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     459.                                                                ELEVEN 0009977-
                                                                         0009993
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      460.                                                               GR OPCO 00191294-
                                                                         00191302
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      461.                                                               ELEVEN 0010001
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      462.                                                               ELEVEN 0012098-
                                                                         0012309
                                                                         CONFIDENTIAL
      463.                                                               ELEVEN 0000157-
                                                                         0000210
                                                                         CONFIDENTIAL
      464.                                                               ELEVEN 0010166-
                                                                         001068
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      465.                                                               ELEVEN 0010194-
                                                                         0010199
                                                                         CONFIDENTIAL
      466.                                                               ELEVEN 0010200-
                                                                         0010205
                                                                         CONFIDENTIAL
      467.                                                               ELEVEN 0010243-
                                                                         0011005
                                                                         CONFIDENTIAL
      468.                                                               ELEVEN 0011612
                                                                         CONFIDENTIAL
      469.                                                               ELEVEN 0011614
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      470.                                                               ELEVEN 001661-
                                                                         0011662
                                                                         CONFIDENTIAL
      471.                                                               ELEVEN 0019458
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      472.                                                               ELEVEN 0011931-
                                                                         0011960
                                                                         HIGHLY
                                                                         CONFIDENTIAL
                  Plaintiff GR Opco LLC d/b/a E11EVEN’s Exhibit List
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     473.                                                        ELEVEN 0011987-
                                                                 0011993
                                                                 CONFIDENTIAL
     474.                                                        ELEVEN 0013512-
                                                                 0013567
                                                                 CONFIDENTIAL
     475.                                                        ELEVEN 0013569-
                                                                 0013780
                                                                 CONFIDENTIAL
     476.                                                        ELEVEN 0012727
                                                                 CONFIDENTIAL
     477.                                                        ELEVEN 0012818-
                                                                 0012832
                                                                 CONFIDENTIAL
     478.                                                        ELEVEN 0012848-
                                                                 0012852
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     479.                                                        ELEVEN 0012867
                                                                 CONFIDENTIAL

     480.                                                        ELEVEN 0013018-
                                                                 0013019
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     481.                                                        ELEVEN 0012868-
                                                                 0013016
                                                                 CONFIDENTIAL

     482.                                                        ELEVEN 0000211-251
                                                                 CONFIDENTIAL
     483.                                                        ELEVEN 0000252-
                                                                 0000264
     484.                                                        ELEVEN 0013099-
                                                                 0013105
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     485.                                                        ELEVEN 0013106-
                                                                 0013463
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     486.                                                        ELEVEN 0013463-
                                                                 0013467
                                                                 CONFIDENTIAL

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     487.     Sept. 1, 2016 article in Miami Herald by Lesley       GR OPCO 00012953-
              Abravanel entitled “Drake and Rihanna Romance Heats   00012957
              Up in Miami”
     488.                                                           GR OPCO 00196485-
                                                                    00196490
                                                                    CONFIDENTIAL
     489.                                                           ELEVEN 0019162
                                                                    CONFIDENTIAL
     490.                                                           ELEVEN 0013817-
                                                                    0013823
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     491.                                                           ELEVEN 0000285-
                                                                    0000316
                                                                    CONFIDENTIAL
     492.                                                           ELEVEN 0013977-
                                                                    0013980
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     493.                                                           ELEVEN 0013982-
                                                                    0013985
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     494.                                                           ELEVEN 0013997-
                                                                    0014002
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     495.                                                           ELEVEN 0014041-
                                                                    0014047
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     496.                                                           ELEVEN 0014148-
                                                                    0014171
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     497.                                                           ELEVEN 0051990
                                                                    CONFIDENTIAL
     498.                                                           ELEVEN 0014071-
                                                                    0014075
                                                                    CONFIDENTIAL
     499.                                                           GR OPCO 00134400-
                                                                    00134403
                                                                    CONFIDENTIAL


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     500.                                                         ELEVEN 0000338-
                                                                  0000352
                                                                  HIGHLY
                                                                  CONFIDENTIAL
     501.                                                         GR OPCO 00198695-
                                                                  00198706
                                                                  HIGHLY
                                                                  CONFIDENTIAL
     502.                                                         ELEVEN 0014205-
                                                                  0014211
                                                                  HIGHLY
                                                                  CONFIDENTIAL
     503.                                                         ELEVEN 0014336-
                                                                  014344
                                                                  HIGHLY
                                                                  CONFIDENTIAL
     504.     Nov. 7, 2016 filed Trademark App. Ser. No. 97/982, 129
                                                                  GR OPCO 00006364-
              for E11EVEN in Class 43 (“services providing food and
                                                                  00006940
              beverage, namely, restaurant and bar services; serving
              food and drinks services provided at a nightclub;
              providing temporary accommodation at hotel”) (with
              prosecution history).
     505.     Nov. 11, 2016 Carma news coverage report               GR OPCO 00199858
     506.     Nov. 11, 2016 PR Newswire entitled “The All Star Team GR OPCO 00022876
              Behind E11EVEN MIAMI, Launches E11EVEN Brand”
              addressing its plans to “enter the music, hotel . . .
              industry.”
     507.     Advertisement for Nov. 12, 2016 Make a Wish Event      GR OPCO 00197305
     508.                                                            GR OPCO 00200145-
                                                                     00200156
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     509.                                                            ELEVEN 0000333-
                                                                     0000336
                                                                     HIGHLY
                                                                     CONFIDENTIAL


     510.                                                                ELEVEN 0014634-
                                                                         0014635
                                                                         CONFIDENTIAL
      511.                                                               ELEVEN 0019200
                                                                         CONFIDENTIAL
      512.                                                               ELEVEN 0014807-
                                                                         0014817
                  Plaintiff GR Opco LLC d/b/a E11EVEN’s Exhibit List
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                                                                  HIGHLY
                                                                  CONFIDENTIAL
     513.                                                         GR OPCO 00135920-
                                                                  00135923
                                                                  HIGHLY
                                                                  CONFIDENTIAL
     514.     Dec. 13, 2016 Miami Herald article by Amanda Mesa   GR OPCO 00013239-
              entitled “The Ultimate Party Guide to NYE 2017 in   00013256
              Miami.”
     515.                                                         ELEVEN 0014773-
                                                                  0014804
                                                                  HIGHLY
                                                                  CONFIDENTIAL
     516.                                                         ELEVEN 0014728-
                                                                  0014733
                                                                  HIGHLY
                                                                  CONFIDENTIAL
     517.                                                         GR OPCO 00184943-
                                                                  00184948
                                                                  HIGHLY
                                                                  CONFIDENTIAL
     518.                                                         ELEVEN 0015654-
                                                                  0015658
                                                                  CONFIDENTIAL
     519.     Dec. 22, 2016 E11EVEN New Year’s Eve Week 2017      GR OPCO 00203331
              Advertisement
     520.                                                         GR OPCO 00203520-
                                                                  00203528
                                                                  CONFIDENTIAL
     521.                                                         ELEVEN 0051993
                                                                  CONFIDENTIAL
     522.                                                         ELEVEN 0051997
                                                                  CONFIDENTIAL
     523.                                                         GR OPCO 00136160
                                                                  HIGHLY
                                                                  CONFIDENTIAL
     524.                                                         ELEVEN 0015275-
                                                                  0015285
                                                                  CONFIDENTIAL
     525.                                                         ELEVEN 0015609-
                                                                  0015610
                                                                  CONFIDENTIAL
     526.                                                         ELEVEN 0019159
                                                                  CONFIDENTIAL

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     527.                                                           ELEVEN 0015723
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     528.                                                           ELEVEN 0015757
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     529.                                                           ELEVEN 0015995-
                                                                    0016022
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     530.                                                           ELEVEN 0015985-
                                                                    0015992
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     531.                                                           ELEVEN 0016215-
                                                                    0016219
                                                                    CONFIDENTIAL
     532.     Feb. 1, 2017 created ELEVEN Experience YouTube        GR OPCO 00001438
              Channel (@ElevenExperience9950) at
              https://www.youtube.com/@elevenexperience9950
     533.                                                           ELEVEN 0016226
                                                                    CONFIDENTIAL
     534.                                                           ELEVEN 0016228
                                                                    CONFIDENTIAL
     535.                                                           ELEVEN 0016414
     536.     Eleven Experience Pinterest Page (@ElevenExperienc)   GR OPCO 00001439
              (with 19 followers)
     537.                                                           ELEVEN 0016559
                                                                    HIGHLY
                                                                    CONFIDENTIAL

     538.                                                           ELEVEN 0016766-
                                                                    0016778
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     539.                                                           ELEVEN 00172016-
                                                                    0017224
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     540.                                                           GR OPCO 00209028-
                                                                    00209039
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     541.                                                           ELEVEN 0016783

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                                                                    HIGHLY
                                                                    CONFIDENTIAL
     542.                                                           ELEVEN 0017161
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     543.                                                           ELEVEN 0017206-
                                                                    0017224
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     544.                                                           ELEVEN 0017340-
                                                                    0017356
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     545.     Feb. 24, 2017 CARMA Weekly Press Report               GR OPCO 00136500-
                                                                    00136506
     546.     Mar. 7, 2017 article in Miami Herald by Lesley        GR OPCO 00012930-
              Abravanel entitled “Chrissy Teigen and John Legend    00012936
              Step Out in Miami”
     547.                                                           ELEVEN 0017865-
                                                                    0017866
                                                                    CONFIDENTIAL
     548.                                                           ELEVEN 0020659-
                                                                    0020707
                                                                    CONFIDENTIAL
     549.     Mar. 23, 2017 email from Yami Alvarado to Eddie       GR OPCO 00136685-
              Franco, Neil Johnson, Michael Fuler, Janice Rivest,   00136689
              Marc Roberts, Michael Simkins, Nikki Simkins, and
              Jordyn Zimmerman regarding E11EVEN coverage in the
              New Times
     550.                                                                ELEVEN 0052070-
                                                                         0052071
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      551.                                                               ELEVEN 0052058-
                                                                         0052069
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      552.                                                               ELEVEN 0000362-
                                                                         0000411
                                                                         CONFIDENTIAL
      553.                                                               ELEVEN 0018577-
                                                                         0018588
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      554.                                                               ELEVEN 0018460
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                                                                      HIGHLY
                                                                      CONFIDENTIAL
     555.                                                             ELEVEN 0018662-
                                                                      0018680
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     556.                                                             ELEVEN 0018545-
                                                                      0018546
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     557.                                                             ELEVEN 0018646-
                                                                      0018646
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     558.                                                             ELEVEN 0020443-
                                                                      0020479
                                                                      CONFIDENTIAL
     559.                                                             GR OPCO 00213529
                                                                      CONFIDENTIAL
     560.                                                             ELEVEN 0052376
                                                                      CONFIDENTIAL
     561.                                                             ELEVEN 0018895-
                                                                      0018899
                                                                      CONFIDENTIAL

     562.                                                             ELEVEN 0018785-
                                                                      0018790
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     563.                                                             ELEVEN 0052602
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     564.     June 5, 2017 Miami Herald article by Lesley Abravanel   GR OPCO 00013090-
              entitled “Macy Gray followed Faena concert with late    00013094
              night performance at downtown Miami hot spot.”
     565.                                                             ELEVEN 0018956-
                                                                      0018961
                                                                      CONFIDENTIAL
     566.                                                             ELEVEN 0018972
                                                                      CONFIDENTIAL
     567.                                                             ELEVEN 0018997-
                                                                      0019011
                                                                      CONFIDENTIAL


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     568.                                                                ELEVEN 0019046-
                                                                         0019055
                                                                         CONFIDENTIAL
      569.                                                               ELEVEN 0019495-
                                                                         0019497
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      570.                                                               ELEVEN 0019077-
                                                                         0019086
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      571.                                                               ELEVEN 0019089-
                                                                         0019130
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      572.                                                               ELEVEN 0043689
                                                                         CONFIDENTIAL
      573.                                                               ELEVEN 0052099-
                                                                         005200
                                                                         CONFIDENTIAL
      574.                                                               ELEVEN 0052101-
                                                                         0052105
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      575.                                                               ELEVEN 0019398-
                                                                         0019399
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      576.                                                               GR OPCO 00216455-
                                                                         00216547
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      577.                                                               ELEVEN 0019734-
                                                                         0019736
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      578.                                                               ELEVEN 0019775
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      579.                                                               ELEVEN 0043652-
                                                                         0043660
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      580.                                                               ELEVEN 0021280
                                                                         CONFIDENTIAL
                  Plaintiff GR Opco LLC d/b/a E11EVEN’s Exhibit List
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     581.                                                              ELEVEN 0052106
                                                                       CONFIDENTIAL

     582.                                                              ELEVEN 0043695
                                                                       CONFIDENTIAL

     583.                                                              ELEVEN 002009
                                                                       CONFIDENTIAL
     584.                                                              ELEVEN 0020140-
                                                                       0020166
                                                                       CONFIDENTIAL
     585.     July 18, 2017 Miami Herald article by Chloe Herring      GR OPCO 00013195-
              entitled “Parties and bikinis: Where to celebrate Swim   0001320
              Week in Miami”
     586.                                                              ELEVEN 0020439-
                                                                       0020440
                                                                       CONFIDENTIAL
     587.     July 24, 2017 e-signed Eleven Colorado Release of        ELEVEN 0052108-
              Liability & Indemnification Agreement                    0052114
     588.                                                              ELEVEN 0020487-
                                                                       0020492
                                                                       CONFIDENTIAL
     589.                                                              ELEVEN 0020544
                                                                       CONFIDENTIAL

     590.     July 26, 2017 Miami Herald article by Lesley Abravanel   GR OPCO 00013073-
              entitled “Disney Bro Hangs in Miami” regarding Jake      00013077
              Paul, Justin Roberts, and Erika Costel party.
     591.                                                              ELEVEN 0020617-
                                                                       0020636
                                                                       CONFIDENTIAL
     592.                                                              ELEVEN 0020651
                                                                       CONFIDENTIAL
     593.                                                              ELEVEN 0020810-
                                                                       0020824
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     594.                                                              ELEVEN 0000419
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     595.                                                              ELEVEN 0000423-
                                                                       0000452
                                                                       HIGHLY
                                                                       CONFIDENTIAL

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     596.                                                           ELEVEN 0020967-
                                                                    0020969
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     597.                                                           ELEVEN 0000454-
                                                                    0000467
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     598.                                                           ELEVEN 0043925-
                                                                    0043938
                                                                    HIGHLY
                                                                    CONFIDENTIAL

     599.                                                           ELEVEN 0052115
                                                                    CONFIDENTIAL

     600.                                                                ELEVEN 0021015-
                                                                         0021019
                                                                         CONFIDENTIAL
      601.                                                               ELEVEN 0021021-
                                                                         0021045
                                                                         CONFIDENTIAL
      602.                                                               ELEVEN 0021104
                                                                         CONFIDENTIAL
      603.                                                               ELEVEN 0021105
                                                                         CONFIDENTIAL
      604.                                                               ELEVEN 0021165
                                                                         CONFIDENTIAL
      605.                                                               GR OPCO 00217779
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      606.                                                               ELEVEN 0052123-
                                                                         0052125
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      607.                                                               GR OPCO 00138560-
                                                                         00138569
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      608.                                                               GR OPCO 00218480-
                                                                         00218484
                  Plaintiff GR Opco LLC d/b/a E11EVEN’s Exhibit List
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                                                                   HIGHLY
                                                                   CONFIDENTIAL
     609.                                                          ELEVEN 0021441-
                                                                   0021451
                                                                   HIGHLY
                                                                   CONFIDENTIAL
     610.                                                          ELEVEN 0000496-
                                                                   0000560
                                                                   CONFIDENTIAL

     611.                                                                ELEVEN 0021911-
                                                                         0021912
                                                                         CONFIDENTIAL
      612.                                                               ELEVEN 0021951-
                                                                         0021958
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      613.                                                               ELEVEN 0021959-
                                                                         0021961
                                                                         CONFIDENTIAL
      614.                                                               ELEVEN 0021984 &
                                                                         0022204
                                                                         CONFIDENTIAL
      615.                                                               ELEVEN 0022360
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      616.                                                               ELEVEN 0052127-
                                                                         0052148
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      617.                                                               ELEVEN 0022508-
                                                                         0022519
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      618.                                                               ELEVEN 0022521
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      619.                                                               ELEVEN 0022586-
                                                                         0022587
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      620.                                                               ELEVEN 0022919-
                                                                         0022927
                                                                         HIGHLY
                                                                         CONFIDENTIAL
                  Plaintiff GR Opco LLC d/b/a E11EVEN’s Exhibit List
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     621.                                                               ELEVEN 0022967-
                                                                        0022968
                                                                        CONFIDENTIAL

     622.                                                               ELEVEN 0052332-
                                                                        0052360
                                                                        CONFIDENTIAL
     623.                                                               ELEVEN 0052717-
                                                                        0052718
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     624.     Nov. 8, 2017 Fictitious Name registration for ELEVEN      ELEVEN 0005649
              with State of Florida Department of State
     625.     Nov. 15, 2017 email to Daniel Solomon regarding           GR OPCO 00139601-
              Borgore show                                              00139603
     626.                                                               ELEVEN 0052606-
                                                                        0052607
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     627.     Nov. 23, 2017 dated Forbes article by Bridget Arsenault   GR OPCO 00001450-
              entitled “How Colorado-based Eleven Experience is         00001458
              Changing the Hotel Industry”
     628.                                                               GR OPCO 00222089
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     629.     Dec. 5, 2017 permit request by Kyra Martin with           ELEVEN 0005690-
              Everglades National Park regarding 74’ Hatteras for       0005743
              Silver Sides LLC (Registration for Hatteras is
              forthcoming)
     630.     Dec. 7, 2017 dated Robb Report article by Phoebe          GR OPCO 00001501-
              Neuman entitled “Eleven Experience’s Andros               00001504
              Mothership Takes Angling to a Whole new – and
              Decidedly Luxe – Level”
     631.                                                               ELEVEN 0005748-
                                                                        0005816
                                                                        CONFIDENTIAL
     632.                                                               ELEVEN 0005817
                                                                        CONFIDENTIAL
     633.                                                               ELEVEN 0005826-
                                                                        0005832
                                                                        CONFIDENTIAL
     634.     Circa-2017 article by Seth Mensing in ThePeakCB.com       GR OPCO 00357804-
              entitled “A New Life for an Old Building”                 00357815


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     635.                                                           ELEVEN 0052149-
                                                                    0052154
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     636.     Jan. 21, 2018 Miami Herald article by Chloe Herring   GR OPCO 00013165-
              entitled “Where can I watch Super Bowl 2018? These    00013182
              are the best watch parties in South Florida.”
     637.                                                           GR OPCO 00140365-
                                                                    00140391
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     638.                                                           ELEVEN 0052160-
                                                                    0052162
                                                                    CONFIDENTIAL
     639.                                                           GR OPCO 00229698-
                                                                    00229774 & 00229779-
                                                                    00229794
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     640.    Luxury Escapes Profile (https://LuxuryExcapes.com) for GR OPCO 00001505-
             Scarp Ridge Lodge                                      00001507
      641.   Mr. and Mrs. Smith Profiles                            GR OPCO 00001508-
             (www.MrandMrsSmith.com) for Scarp Ridge Lodge,         00001510
             Sopris House, Taylor River Lodge, Bahama House,
             Deplar Farm, Rio Palena Lodge, Chalet Pelerin, and
             Chalet Hibou (with per night per room pricing)
      642.   June 11, 2018 Miami Herald article by Amanda Mesa           GR OPCO 00013293-
             entitled “Watch the World Cup at these Miami Hot            00013312
             Spots” addressing how “E11EVEN Miami will showcase
             World Cup games on their LED Video wall”
      643.                                                               ELEVEN 0005842-
                                                                         0005843
                                                                         CONFIDENTIAL
      644.                                                               GR OPCO 00231887-
                                                                         00231969
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      645.   June 20, 2018 Event Presentation materials                  GR OPCO 00229037-
                                                                         00229042
      646.                                                               GR OPCO 00231302-
                                                                         00231323
                                                                         CONFIDENTIAL
      647.                                                               GR OPCO 00231372-
                                                                         00231392
                                                                         CONFIDENTIAL
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     648.     July 28, 2018 Miami Herald article entitled “At these       GR OPCO 00013106-
              Miami bachelorette parties, the best gift was a serenade    00013012
              by Nelly.”
     649.     July 29, 2018 Miami Herald article by Lesley Abravanel      GR OPCO 00013319-
              entitled “Trey Songz partied so hard in Miami that you’ll   00013323
              need a disco nap after reading about it.”
     650.                                                                 ELEVEN 0052163-
                                                                          0052167
                                                                          HIGHLY
                                                                          CONFIDENTIAL
     651.                                                                 ELEVEN 0000619-
                                                                          0000671
                                                                          CONFIDENTIAL
     652.     Oct. 22, 2018 Press Release for E11EVEN Events              GR OPCO 00236841
     653.                                                                 ELEVEN 0000674-
                                                                          0000699
                                                                          CONFIDENTIAL
     654.     Nov. 27, 2018 dated Travel+Leisure article by Tom           GR OPCO 00002652-
              Vanderbilt entitled “This Tiny Colorado Town is the         00002657
              Quintessential American Ski Getaway” available at
              https://www.travelandleisure.com/trip-ideas/skiing-
              trips/crested-butte-colorado-skiing-eleven-experience-
              hotels
     655.                                                                 ELEVEN 0005878-
                                                                          0005879
                                                                          CONFIDENTIAL
     656.     Dec. 21, 2018 Celebrity Performers and Visitors             GR OPCO 00239685
              Presentation Graphic
     657.                                                                 GR OPCO 00240200-
                                                                          00240203 & 00240209-
                                                                          00240242 & 00240245-
                                                                          00240328
                                                                          HIGHLY
                                                                          CONFIDENTIAL
     658.                                                                 ELEVEN 0052711-
                                                                          0052712
                                                                          HIGHLY
                                                                          CONFIDENTIAL
     659.                                                                 ELEVEN 0052595-
                                                                          0052596
                                                                          HIGHLY
                                                                          CONFIDENTIAL
     660.     Jan. 12, 2019 article in Miami Herald entitled              GR OPCO 00012976-
              “E11EVEN Rooftop Announces New Latin Nights”                00012979

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     661.     Jan 12, 2019 article in Miami Herald entitled               GR OPCO 00012980-
              “E11EVEN Takes it Back to the ‘70s and ‘80s this            00012983
              Saturday.”
     662.     Jan. 24, 2019 Miami Herald article by Amanda Mesa           GR OPCO 00013183-
              entitled “Where to Watch Super Bowl LIII in Miami”          00013194
     663.                                                                 ELEVEN 0052321-
                                                                          0052322
                                                                          CONFIDENTIAL
     664.                                                                 GR OPCO 00241924-
                                                                          00242032
                                                                          HIGHLY
                                                                          CONFIDENTIAL
     665.     Feb. 7, 2019 article in Miami Herald by Lesley              GR OPCO 00013059-
              Abravanel entitled “Pass the Ciroc! Iggy Azalea             00013063
              Performs Late Show at E11EVEN Miami”
     666.     Feb. 7, 2019 article in Miami Herald entitled “12 Spots     GR OPCO 00012799-
              in South Florida to get Your Cinco De Mayo On”              000012811
     667.     Feb. 7, 2019 article in Miami Herald entitled “5 Events     GR OPCO 00012882-
              in Miami for Connoisseurs of Scotch, Cigars, Meat and       00012887
              Bikinis”
     668.     Feb. 7, 2019 article in Miami Herald entitled “The Best     GR OPCO 00012893-
              Art Basel parties that you can actually get into”           00012928
     669.     Feb. 7, 2019 article in Miami Herald entitled “Events,      GR OPCO 00012990-
              Parties and Concerts You Can’t Miss this Labor Day          00013001
              Weekend”
     670.     Feb. 7, 2019 article in Miami Herald entitled “Demi         GR OPCO 00012942-
              Lovato is in Miami and we are basically stalking her.       00012946
              But not in a creepy way.”
     671.     Feb. 7, 2019 article in Miami Herald entitled “Vin Diesel   GR OPCO 00012965-
              Goes from Action Star to Latin Pop Star? Sorta . . .”       00012970
     672.     Feb. 7, 2019 article in Miami Herald entitled “These        GR OPCO 00013017-
              Miami Restaurants have Fixed-Priced Menus for the ad        00013038
              and Boujee. That means You.”
     673.                                                                 ELEVEN 0000726-
                                                                          0000751
                                                                          CONFIDENTIAL
     674.     Feb. 13, 2019 article in Miami Herald entitled              GR OPCO 00013002-
              “Wathcing G-Easy and Halsey Grind on Each Other at          00013009
              E11EVEN is Making us Pregnant”
     675.                                                                 ELEVEN 0032399-
                                                                          0032404
                                                                          HIGHLY
                                                                          CONFIDENTIAL


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     676.                                                              ELEVEN 0032460-
                                                                       0032468
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     677.                                                              ELEVEN 0033265-
                                                                       0033325
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     678.     May 8, 2019 Miami Herald article by Madeleine Marr       GR OPCO 00013095-
              entitled “Don’t have tickets to Rolling Loud”? Head to   00013100
              this Miami nightclub to see rap stars.”
     679.                                                                ELEVEN 0052934-
                                                                         0052937
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      680.                                                               ELEVEN 0005880-
                                                                         0005881
                                                                         CONFIDENTIAL
      681.                                                               ELEVEN 0005888-
                                                                         0005890
                                                                         CONFIDENTIAL
      682.                                                               GR OPCO 00027681-
                                                                         00027684
                                                                         CONFIDENTIAL
      683.                                                               GR OPCO 00127340-
                                                                         00127359
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      684.                                                               HOSTEL 000009-
                                                                         000028
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      685.                                                               ELEVEN 0000778-
                                                                         0000799
                                                                         CONFIDENTIAL
      686.                                                               ELEVEN 0000800-
                                                                         0000824
                                                                         CONFIDENTIAL
      687.                                                               ELEVEN 0052709-
                                                                         0052710
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      688.                                                               ELEVEN 0000825-
                                                                         0000833
                                                                         CONFIDENTIAL
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     689.                                                        ELEVEN 0052715-
                                                                 0052716
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     690.                                                        ELEVEN 0052612-
                                                                 0052646
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     691.                                                        ELEVEN 0052698-
                                                                 0052700
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     692.                                                        ELEVEN 0000834-
                                                                 0000935
                                                                 CONFIDENTIAL
     693.                                                        ELEVEN 0000936-
                                                                 0001001
                                                                 CONFIDENTIAL
     694.                                                        GR OPCO 00247428-
                                                                 00247435 & 00247440-
                                                                 00247462 & 00247465-
                                                                 00247538
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     695.                                                        GR OPCO 00144672-
                                                                 00144676
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     696.                                                        ELEVEN 0001006-
                                                                 0001009
                                                                 CONFIDENTIAL
     697.                                                        ELEVEN 0052686-
                                                                 0052691
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     698.     Aug. 2019 GR Opco, LLC Financials                  GR OPCO 00249738-
                                                                 00249745 & 00249750-
                                                                 00249762 & 00249764-
                                                                 00249833
     699.                                                        ELEVEN 0001022-
                                                                 0001111
                                                                 CONFIDENTIAL
     700.   Sept. 19, 2013 dated article by Ed Estlow entitled “Stay:
                                                                 GR OPCO 00002779-
            Scarp Ridge Lodge” discussing how “Eleven specializes00002784
            in luxury adventure travel” priced at “$10,000 to
                  Plaintiff GR Opco LLC d/b/a E11EVEN’s Exhibit List
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              $14,000 per night (for a group)” available at
              https://www.gearpatrol.com/archive/a81661/stay-scarp-
              ridge-lodge/
     701.                                                             ELEVEN 0001112-
                                                                      0001133
                                                                      CONFIDENTIAL
     702.                                                             ELEVEN 0052685
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     703.                                                             ELEVEN 0001134-
                                                                      0001144
                                                                      CONFIDENTIAL
     704.     Oct. 12, 2019 E11EVEN BEACH Irie BQ Beach Bash          GR OPCO 00022871
              Flyer
     705.                                                             GR OPCO 00021557-
                                                                      00021563
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     706.                                                             GR OPCO 00251752-
                                                                      00251759 & 00251763-
                                                                      00251782 & 00251785-
                                                                      00251853
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     707.                                                             ELEVEN 0001165-
                                                                      0001186
                                                                      CONFIDENTIAL
     708.                                                             GR OPCO 00021572-
                                                                      00021582
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     709.                                                             GR OPCO 00021590-
                                                                      00021591
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     710.                                                             GR OPCO 0021583-
                                                                      0021589
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     711.                                                             ELEVEN 0052603-
                                                                      0052604
                                                                      HIGHLY
                                                                      CONFIDENTIAL


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     712.                                                           ELEVEN 0052380


     713.                                                           GR OPCO 00021592-
                                                                    00021624
                                                                    CONFIDENTIAL
     714.                                                           ELEVEN 0052605
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     715.                                                           ELEVEN 0001198-
                                                                    0001299
                                                                    CONFIDENTIAL
     716.                                                           ELEVEN 0052421-
                                                                    0052436
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     717.                                                           GR OPCO 00254068-
                                                                    00254075 & 00254080-
                                                                    00254104 & 00254107-
                                                                    00254182
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     718.                                                           ELEVEN 0001311-
                                                                    0001372
                                                                    CONFIDENTIAL
     719.                                                           ELEVEN 0052413-
                                                                    0052418
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     720.     Jan. 22, 2020 Super Bowl Ticket Offer with E11EVEN    GR OPCO 00022876-
              Miami with 11 hotel rooms (4 nights) at The Gabriel   00022877
              (along with 1 case of E11EVEN Vodka)
     721.     Jan. 25, 2020 E11EVEN Press Coverage                 GR OPCO 00255703-
                                                                   00255705
     722.     Jan. 2020 Hotel Booking Advertising with E11EVEN for GR OPCO 00025788-
              Super Bowl                                           00025790
     723.                                                          GR OPCO 00258328-
                                                                   00258331 & 00258334-
                                                                   00258345 & 00258346-
                                                                   00258413
                                                                   HIGHLY
                                                                   CONFIDENTIAL
     724.                                                          ELEVEN 0052608-
                                                                   0052609

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                                                                     HIGHLY
                                                                     CONFIDENTIAL
     725.     Apr. 10, 2020 dated U.S. Trademark App. Ser. No.       GR OPCO 00006941-
              88/868,063 filed by GR Opco LLC for the mark           00007033
              E11EVEN in Class 36 (“real estate time-sharing; real
              estate services . . .”) (with prosecution history).
     726.     Apr. 10, 2020 dated U.S. Trademark App. Ser. No.       GR OPCO 00007361-
              88/982,607 filed by GR Opco LLC for the mark           00007474
              E11EVEN in Class 37 (“Real estate development”)(with
              prosecution history).
     727.     Apr. 10, 2020 dated U.S. Trademark App. Ser. No.       GR OPCO 00007265-
              88/979,706 filed by GR Opco LLC for the mark           00007360
              E11EVEN in Class 35 (“Swimming pool management”)
              (with prosecution history).
     728.     Apr. 10, 2020 dated U.S. Trademark App. Ser. No.       GR OPCO 00007157-
              88/797,705 filed by GR Opco LLC for the mark           00007264
              E11EVEN (stylized+design) in Class 35 (“Swimming
              pool management”) (with prosecution history).
     729.     Apr. 14, 2020 dated U.S. Trademark App. Ser. No.       GR OPCO 00007475-
              88/982,608 filed by GR Opco LLC for the mark           00007570
              E11EVEN (stylized+design) in Class 37 (“Real estate
              development”) (with prosecution history).
     730.                                                            ELEVEN 0052544-
                                                                     0052551
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     731.                                                            ELEVEN 0052552-
                                                                     0052559
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     732.                                                            GR OPCO 00021684-
                                                                     00021779
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     733.                                                            GR OPCO 00021840-
                                                                     00021918
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     734.                                                            GR OPCO 00021956-
                                                                     00021957
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     735.                                                            GR OPCO 00022385-
                                                                     00022387

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                                                                       HIGHLY
                                                                       CONFIDENTIAL
     736.                                                              GR OPCO 00021965-
                                                                       00021989
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     737.                                                              GR OPCO 00021990
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     738.     May 4, 2020 dated U.S. Trademark App. Ser. No.           GR OPCO 00007034-
              88/899,708 filed by GR Opco LLC for the mark             00007156
              E11EVEN HOTEL AND RESIDENCES in Class 037
              (“Real estate development; real estate development and
              construction of commercial, residential and hotel
              property”) (with prosecution history).
     739.                                                              GR OPCO 00023734-
                                                                       00023743;
                                                                       000024035;
                                                                       00024595-00024602;
                                                                       00024604-00024999
                                                                       CONFIDENTIAL
     740.                                                              GR OPCO 00024149-
                                                                       00024290


                                                                       HIGHLY
                                                                       CONFIDENTIAL
     741.     Copy of E11EVEN Residences Website                       GR OPCO 00001345-
                                                                       00001351
     742.                                                              GR OPCO 00025796-
                                                                       00026440
                                                                       CONFIDENTIAL
     743.                                                              GR OPCO 00024536
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     744.    Circa-May 2020 article by Uncharted Outposts entitled     GR OPCO 00002785-
             “Scarp Ridge Lodge is the Ultimate Rocky Mountain         00002793
             Base Camp” discussing how “its actually a former
             brothel” that is a “13,500 square foot lodge” that was
             “named after the slopes of the nearby 12,000-foot high
             Scarp Ridge” available at
             https://s.gouncharted.com/basecamps/scarp-ridge-lodge
      745.   Mar. 22, 2020 article in Miami Herald by Chloe Herring GR OPCO 00012867-
             “22 Placed to Watch the Mayweather v. McGregor Fight 00012881
             in Miami”
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     746.     May 8, 2020 Miami Herald article by Omar Rodriguez       GR OPCO 00013257-
              Ortiz entitled “Travis Scott Returns to Miami” to take   00013262
              stage at E11EVEN as part of club’s Formula 1 party.
     747.                                                              GR OPCO 00258474-
                                                                       00258476
                                                                       CONFIDENTIAL
     748.                                                              ELEVEN 0052576
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     749.                                                              ELEVEN 0052577
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     750.                                                              ELEVEN 0052578
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     751.                                                              ELEVEN 0052579
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     752.     May 29, 2020 E11EVEN HOTEL AND RESIDENCES                GR OPCO 00258776
              Fact Sheet
     753.                                                              HOSTEL 000001-
                                                                       000004
                                                                       CONFIDENTIAL

     754.                                                              ELEVEN 0052583
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     755.                                                              ELEVEN 0001383-
                                                                       0001406
                                                                       CONFIDENTIAL
     756.                                                              ELEVEN 0001407-
                                                                       0001430
                                                                       CONFIDENTIAL
     757.     June 29, 2020 article in PERE by Jonathan Brasse         GR OPCO 00001527-
              entitled “Former real estate boss Chad Pike to leave     00001529
              Blackstone – Exclusive” available at
              https://www.perenews.com/former-real-estate-boss-
              chad-pike-to-leave-blackstone-exclusive/
     758.     July 30, 2020 dated U.S. Trademark App. Ser. No.         GR OPCO 00007571-
              90/083,101 filed by GR Opco LLC for the mark             00007743
              E11EVEN HOTEL in Class 35 (“Swimming pool
              management”) (with prosecution history).
     759.     July 31, 2020 dated U.S. Trademark App. Ser. No.         GR OPCO 00007744-
              90/086,479 filed by GR Opco LLC for the mark 11          00007920

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              HOTEL in Class 35 (“Swimming pool management”)
              (with prosecution history).
     760.     June 30, 2020 article in Private Equity News entitled      GR OPCO 00001530-
              “Blackstone senior managing director Chad Pike to          00001532
              retire” available at
              https://www.penews.com/articles/blackstone-senior-
              managing-director-chad-pike-to-retire-20200630
     761.     July 1, 2020 dated Pitchbook.com article entitled          GR OPCO 00001655-
              “Blackstone executive set to retire” available at          00001657
              https://pitchbook.com/newsletter/blackstone-executive-
              set-to-retire
     762.                                                                GR OPCO 00147356-
                                                                         00147381
                                                                         HIGHLY
                                                                         CONFIDENTIAL
     763.                                                                ELEVEN 0052584-
                                                                         0052896
                                                                         HIGHLY
                                                                         CONFIDENTIAL
     764.                                                                GR OPCO-00259242-
                                                                         00259280
                                                                         HIGHLY
                                                                         CONFIDENTIAL
     765.     Jensen Partners Article entitled “Chad Pike, the former    GR OPCO 00001643
              Co-head of Blackstone’s real estate business and founder
              of its tactical opportunities unit based in London, UK,
              retired from the firm in July 2020”
     766.                                                                ELEVEN 0001431-
                                                                         0001540
                                                                         CONFIDENTIAL
     767.                                                                ELEVEN 0001573-
                                                                         0001600
                                                                         CONFIDENTIAL
     768.                                                                ELEVEN 0052899
                                                                         HIGHLY
                                                                         CONFIDENTIAL
     769.                                                                ELEVEN 0052913-
                                                                         0052926
                                                                         HIGHLY
                                                                         CONFIDENTIAL
     770.                                                                ELEVEN 0001601-
                                                                         0001692
                                                                         CONFIDENTIAL


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     771.                                                               GR OPCO 00260751-
                                                                        00260781 & 00260784-
                                                                        00260788
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     772.     Oct. 13, 2020 Miami Herald article by Madeleine Marr      GR OPCO 00013113-
              entitled “Miami’s 25-Hour Club is still closed, but you   00013121
              can get lit at home with its new vodka.”
     773.     Trademark App. Ser. No. 90/651,086 filed by GR Opco       GR OPCO 00007921-
              LLC for the mark THE OFFICIAL VODKA OF                    00007998
              NIGHTLIFE in Class 33 (“Alcoholic beverages,
              namely; vodka; Sprits and liqueurs”)
     774.     E11EVEN Vodka LinkedIn Profile                            GR OPCO 00000597-
                                                                        00000610
     775.     Nikki Simkins LinkedIn Profile for E11EVEN Vodka          GR OPCO 00002865-
                                                                        00002866
     776.     E11EVEN Vodka Facebook Page                               GR OPCO 00001671-
                                                                        00001779
     777.     @11Vodka Instagram Page (with 66.6K Followers)            GR OPCO 00000725-
                                                                        00000768
     778.     E11EVEN Vodka Website at https://11Vodka.com/             GR OPCO 00000455-
                                                                        00000596
     779.     E11EVEN Vodka Advertising at https://11Vodka.com/         GR OPCO 00000611-
                                                                        00000720
     780.                                                               ELEVEN 0001714-
                                                                        0001736
                                                                        CONFIDENTIAL
     781.                                                               ELEVEN 0001737-
                                                                        0001747
                                                                        CONFIDENTIAL
     782.                                                               ELEVEN 0001748-
                                                                        0001775
                                                                        CONFIDENTIAL
     783.     Oct. 26, 2020 article in Miami Herald by Madeline Marr    GR OPCO 00012958-
              entitled “Miami’s Favorite 24/7 Nightclub is Reopening    00012964
              after 7 Months. Here’s What to Expect.”
     784.     Oct. 30, 2020 issued Opinion by Administrative            GR OPCO 00012124-
              Trademark Judge Taylor of the Trademark Trial and         00012154
              Appeal Board (TTAB) in Eleven IP Holdings LLC v.
              K11 Group Limited (Consolidated)
     785.     Nov. 4, 2020 e-mail from K. Phelps to Ian Wick and J.     ELEVEN 0052938-
              Featherman regarding insurance for Public House           0052954
              (including Apr. 2019 to Mar. 2020 revenues)


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     786.                                                               GR OPCO 00262245-
                                                                        00262252 & 00262254-
                                                                        00262317
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     787.                                                               GR OPCO 00027256-
                                                                        00027262 &
                                                                        00027264
                                                                        CONFIDENTIAL
     788.                                                               GR OPCO 00027045-
                                                                        00027071
                                                                        CONFIDENTIAL
     789.     Dec. 14, 2020 filed “Statement of Foreign Entity          GR OPCO 00019015-
              Authority” for 200 Sopris LLC, a Delaware Limited         00019017
              Liability Company, filed with the State of Colorado (by
              Richard W. Hawthorne)
     790.                                                               GR OPCO 00027688-
                                                                        00027693
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     791.     Annual / Periodic Reports (2021-2022) filed with State    GR OPCO 00019015-
              of Colorado by 200 Sopris LLC a Delaware Limited          00019020
              Liability Company (by Richard W. Hawthorne)
     792.                                                               GR OPCO 00148607-
                                                                        00148627
                                                                        CONFIDENTIAL
     793.                                                               GR OPCO 00021970-
                                                                        00021985
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     794.                                                               GR OPCO 00022179-
                                                                        00022307
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     795.     Jan. 22, 2021 article in Miami Herald by Rebecca San      GR OPCO 00012947-
              Juan entitled “Deepak Chopra plus a Downtown              00012952
              Nightclub? New E11EVEN Miami Residences will
              have both”
     796.     Jan. 25, 2021 E11EVEN HOTEL AND RESIDENCES                GR OPCO 00150020-
              materials on Upper Residences                             00150022
     797.                                                               GR OPCO 00021958-
                                                                        00021962
                                                                        CONFIDENTIAL
     798.                                                               GR OPCO 00027263

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                                                                        HIGHLY
                                                                        CONFIDENTIAL
     799.                                                               GR OPCO 00027680
                                                                        CONFIDENTIAL
     800.                                                               GR OPCO 00150054-
                                                                        00150066
                                                                        CONFIDENTIAL
     801.     Jan. 28, 2021 dated The Real Deal Article entitled “How   GR OPCO 00001574-
              Blackstone’s Jon Gray Undercut his UK Counterpart”        00001587
              available at
              https://therealdeal.com/national/2021/01/28/how-
              blackstones-jon-gray-undercut-his-uk-counterpart/
     802.                                                               GR OPCO 00267874-
                                                                        00267880 & 00267885-
                                                                        00267896 & 00267898-
                                                                        00267945
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     803.                                                               GR OPCO 00027694-
                                                                        00027702
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     804.                                                               ELEVEN 0052978-
                                                                        0052982
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     805.                                                               GR OPCO 00021963-
                                                                        00021964
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     806.                                                               GR OPCO 00022394-
                                                                        00022396
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     807.     Feb. 13, 2021 Invoice (No. SD-2021) from 10th Street      GR OPCO 00027321
              Management (with $80,000 Deposit) for E11EVEN
              HOTEL & RESIDENCES
     808.                                                               GR OPCO 00027399;
                                                                        00027404-00027405
                                                                        CONFIDENTIAL
     809.                                                               GR OPCO 00027703
                                                                        CONFIDENTIAL
     810.                                                               ELEVEN 0006033
                                                                        CONFIDENTIAL

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     811.                                                           ELEVEN 0001859-
                                                                    0001883
                                                                    CONFIDENTIAL
     812.                                                           ELEVEN 0053179
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     813.     Mar 16, 2021 Eleven IP Holdings LLC’s Trademark       ELEVEN 0053185-
              Settlement and Co-Existence Agreement with HFIN One   0053194
              LLC (fully executed)
     814.                                                           ELEVEN 0001884-
                                                                    0001913
                                                                    CONFIDENTIAL
     815.                                                           ELEVEN 0053195-
                                                                    0053205
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     816.                                                           GR OPCO 00027704
                                                                    CONFIDENTIAL
     817.                                                           GR OPCO 00027809-
                                                                    00027810
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     818.                                                           GR OPCO 0026025 -
                                                                    0026284
                                                                    CONFIDENTIAL
     819.                                                           GR OPCO 00152395-
                                                                    00152396
                                                                    CONFIDENTIAL
     820.                                                           ELEVEN 0001914-
                                                                    0001945
                                                                    CONFIDENTIAL
     821.                                                           GR OPCO 00027687
                                                                    CONFIDENTIAL
     822.                                                           ELEVEN 0001946-
                                                                    0001970
                                                                    CONFIDENTIAL
     823.                                                           GR OPCO 00282283-
                                                                    00282360
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     824.                                                           GR OPCO 00027705
                                                                    CONFIDENTIAL
     825.                                                           GR OPCO 00027720
                                                                    CONFIDENTIAL

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     826.                                                                GR OPCO 00027383-
                                                                         00027385
                                                                         CONFIDENTIAL
     827.                                                                ELEVEN 0006032
                                                                         CONFIDENTIAL
     828.                                                                GR OPCO 00027335-
                                                                         00027336
                                                                         CONFIDENTIAL
     829.                                                                GR OPCO 00027721
                                                                         CONFIDENTIAL
     830.                                                                GR OPCO 00022008-
                                                                         00022051
                                                                         CONFIDENTIAL
     831.                                                                GR OPCO 00022052-
                                                                         00022178
                                                                         CONFIDENTIAL
     832.                                                                GR OPCO 00022388-
                                                                         00022393
                                                                         CONFIDENTIAL
     833.                                                                GR OPCO 00027536-
                                                                         00027537
                                                                         CONFIDENTIAL
     834.                                                                GR OPCO 00027326-
                                                                         00027327
                                                                         HIGHLY
                                                                         CONFIDENTIAL
     835.                                                                HOSTEL 000041-
                                                                         000042
                                                                         HIGHLY
                                                                         CONFIDENTIAL
     836.     July 29, 2021 article in The Virginia Sportsman entitled   GR OPCO 00001588-
              “Airstreams in the Desert with Eleven Experience”          00001593
              available at
              https://thevirginiasportsman.com/featured/airstreams-in-
              the-desert-with-eleven-experience
     837.                                                                GR OPCO 00290808-
                                                                         00290815 & 00290820-
                                                                         00290833 & 00290836-
                                                                         00290910
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      838.                                                               GR OPCO 00027538
                                                                         CONFIDENTIAL
      839.                                                               GR OPCO 00027722
                                                                         CONFIDENTIAL
                  Plaintiff GR Opco LLC d/b/a E11EVEN’s Exhibit List
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     840.                                                               ELEVEN 0053074
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     841.                                                               ELEVEN 0053092-
                                                                        0053093
                                                                        CONFIDENTIAL
     842.     Aug. 25, 2021 dated article in Crested Butte News         GR OPCO 0357784-
              entitled “CB Hostel Housing Initiative Moves Head”        0357791
     843.     Aug. 26, 2021 dated U.S. Trademark App. Ser. No.          GR OPCO 00007999-
              90/903,840 filed by GR Opco LLC for the mark              00008065
              E11EVEN in Class 35 (“Real estate marketing services
              in the field of condominiums”) (with prosecution
              history).
     844.     Aug. 26, 2021 dated U.S. Trademark App. Ser. No.          GR OPCO 00008145-
              90/903,985 filed by GR Opco LLC for the mark              00008211
              E11EVEN (stylized+design) in Class 35 (“Real estate
              marketing services in the field of condominiums”) (with
              prosecution history).
     845.     Aug. 26, 2021 dated U.S. Trademark App. Ser. No.          GR OPCO 00008066-
              90/903,850 filed by GR Opco LLC for the mark              00008144
              E11EVEN HOTEL AND RESIDENCES in Class 35
              (“Real estate marketing services in the field of
              condominiums”) (with prosecution history).
     846.     @E11EVENResidences Page on Instagram                      GR OPCO 00001215-
                                                                        00001228
     847.                                                               GR OPCO 0026753-
                                                                        00026756; 00027072-
                                                                        00027075
                                                                        CONFIDENTIAL
     848.                                                               GR OPCO 00027723
                                                                        CONFIDENTIAL
     849.                                                               ELEVEN 0053143-
                                                                        0053145
                                                                        CONFIDENTIAL
     850.                                                               ELEVEN 0053159-
                                                                        0053175
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     851.                                                               GR OPCO 00027539-
                                                                        00027541
                                                                        CONFIDENTIAL
     852.                                                               GR OPCO 00027542-
                                                                        00027547
                                                                        CONFIDENTIAL

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     853.                                                        GR OPCO 00027447-
                                                                 00027451
                                                                 CONFIDENTIAL
     854.                                                        ELEVEN 0053238
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     855.                                                        GR OPCO 00022384
                                                                 CONFIDENTIAL
     856.                                                        GR OPCO 00022311-
                                                                 00022383
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     857.                                                        GR OPCO 00023289-
                                                                 00023297
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     858.                                                        ELEVEN 0006035-
                                                                 00006044
                                                                 CONFIDENTIAL
     859.                                                        GR OPCO 00027686
                                                                 CONFIDENTIAL
     860.                                                        GR OPCO 00027685
                                                                 CONFIDENTIAL
     861.                                                        GR OPCO 00027724
                                                                 CONFIDENTIAL
     862.                                                        GR OPCO 00027550
                                                                 CONFIDENTIAL
     863.                                                        GR OPCO 00027452
                                                                 CONFIDENTIAL
     864.                                                        GR OPCO 00027700
                                                                 CONFIDENTIAL
     865.     Nov. 3, 2021 email regarding name selection        GR OPCO 00155418-
                                                                 00155419
     866.                                                        GR OPCO 00027454
                                                                 CONFIDENTIAL
     867.                                                        GR OPCO 00027534-
                                                                 00027535
                                                                 CONFIDENTIAL
     868.                                                        GR OPCO 000272650
                                                                 CONFIDENTIAL

     869.                                                        GR OPCO 00027267
                                                                 CONFIDENTIAL


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     870.                                                              GR OPCO 00027266
                                                                       CONFIDENTIAL
     871.                                                              GR OPCO 00027123-
                                                                       00012733
                                                                       CONFIDENTIAL
     872.                                                              GR OPCO 0026306-
                                                                       0026307
                                                                       CONFIDENTIAL
     873.                                                              GR OPCO 00027726-
                                                                       00027731
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     874.                                                              GR OPCO 00303100-
                                                                       00303121
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     875.                                                              ELEVEN 0001978-
                                                                       0002021
                                                                       CONFIDENTIAL
     876.                                                              GR OPCO 00027725
                                                                       CONFIDENTIAL
     877.                                                              ELEVEN 0053146-
                                                                       0053149
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     878.                                                              ELEVEN 0053150-
                                                                       0053153
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     879.                                                              GR OPCO 00303605-
                                                                       00303606
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     880.     Dec. 7, 2021 captured Archive.org “WayBack Machine”      GR OPCO 00002690-
              copy of the Crested Butte Chamber’s Business Directory   00002693
              listing for “Scarp Ridge Lodge”
     881.                                                                ELEVEN 0002022-
                                                                         0002051
                                                                         CONFIDENTIAL
      882.                                                               ELEVEN 0002052-
                                                                         0002073
                                                                         CONFIDENTIAL
      883.                                                               GR OPCO 00026768-
                                                                         00026769
                                                                         CONFIDENTIAL
                  Plaintiff GR Opco LLC d/b/a E11EVEN’s Exhibit List
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     884.                                                              GR OPCO 00022471-
                                                                       00022478
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     885.     Building wrap featuring images of E11EVEN                GR OPCO 00023745-
              RESIDENCES BEYOND                                        00023746
     886.     Dec. 17, 2021 created E11EVEN RESIDENCES                 GR OPCO 00022479-
              BEYOND brochure                                          00022516

     887.                                                              GR OPCO 00027121
                                                                       CONFIDENTIAL
     888.                                                              GR OPCO 00025000-
                                                                       00025787
                                                                       CONFIDENTIAL
     889.                                                              GR OPCO 00307488-
                                                                       00307594
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     890.                                                              GR OPCO 00305019-
                                                                       00305041
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     891.                                                              GR OPCO 00027706-
                                                                       00027707
                                                                       CONFIDENTIAL
     892.                                                              GR OPCO 00027754
                                                                       CONFIDENTIAL
     893.                                                              GR OPCO 00022517
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     894.                                                              GR OPCO 00024036
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     895.                                                              GR OPCO 00027708-
                                                                       00027709
                                                                       CONFIDENTIAL
     896.                                                              GR OPCO 00027732
                                                                       CONFIDENTIAL
     897.     Jan. 3, 2022 article in Miami Herald by Madeleine Marr   GR OPCO 00012888-
              “Rapper 50 Cent Rang in New Year at this Miami Club      00012892
              Two Minutes Late. Here’s Why”
     898.     Jan. 4, 2022 created “Deplar Farm Winter Pre-Arrival     ELEVEN 0002152-
              Planning Guide” (Rev A) (McKenzie & Tony Ardisson        0002178
              as Managers)

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     899.                                                        ELEVEN 0002179-
                                                                 0002210
                                                                 CONFIDENTIAL
     900.                                                        GR OPCO 00026845-
                                                                 00026848;
                                                                 00027106-00027113
                                                                 CONFIDENTIAL
     901.                                                        GR OPCO 00026521
                                                                 CONFIDENTIAL

     902.                                                        GR OPCO 00026452-
                                                                 00026453
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     903.                                                        GR OPCO 0002640 –
                                                                 00026451; 00026455
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     904.                                                        GR OPCO 00026461
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     905.                                                        GR OPCO 00026462-
                                                                 00026464
                                                                 CONFIDENTIAL
     906.                                                        GR OPCO 00026465-
                                                                 00026499
                                                                 CONFIDENTIAL
     907.                                                        GR OPCO 00026500
                                                                 CONFIDENTIAL
     908.                                                        GR OPCO 00026501-
                                                                 0026520; 00026523-
                                                                 00026561 & 00026564-
                                                                 00026566
                                                                 CONFIDENTIAL
     909.                                                        GR OPCO 00027135-
                                                                 00027150
                                                                 CONFIDENTIAL
     910.                                                        GR OPCO 00027710-
                                                                 00027711
                                                                 CONFIDENTIAL
     911.                                                        GR OPCO 00027733
                                                                 CONFIDENTIAL
     912.                                                        GR OPCO 00026522
                                                                 CONFIDENTIAL

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     913.                                                             GR OPCO 00027410
                                                                      CONFIDENTIAL
     914.     Feb. 11, 2022 Miami Herald article by Madeleine Marr    GR OPCO 00013144-
              entitled “Get off your couch and watch the Super Bowl   00013148
              with the Boss of Miami at this ultra club.”
     915.                                                             GR OPCO 00022878-
                                                                      00022882
                                                                      CONFIDENTIAL
     916.                                                             GR OPCO 00022887-
                                                                      00022888
                                                                      CONFIDENTIAL
     917.                                                             GR OPCO 00026562
                                                                      CONFIDENTIAL
     918.                                                             ELEVEN 0002218-
                                                                      0002245
                                                                      CONFIDENTIAL
     919.                                                             GR OPCO 00027737
                                                                      CONFIDENTIAL
     920.                                                             GR OPCO 00313709-
                                                                      00313789 & 00313792-
                                                                      00313812
                                                                      HIGHLY
                                                                      CONFIDENTIAL
     921.                                                             GR OPCO 00026568-
                                                                      00026570;
                                                                      00026572-00026637;
                                                                      00026640-00026671 &
                                                                      00027153-00027158;
                                                                      00027251-00027254



                                                                      CONFIDENTIAL
     922.                                                             GR OPCO 00027159-
                                                                      00027174
                                                                      CONFIDENTIAL
     923.                                                             GR OPCO 00026571
                                                                      CONFIDENTIAL
     924.                                                             GR OPCO 00027712-
                                                                      00027713
                                                                      CONFIDENTIAL
     925.                                                             GR OPCO 00027734-
                                                                      00027735
                                                                      CONFIDENTIAL

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     926.                                                                GR OPCO 00027739-
                                                                         00027751
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      927.                                                               ELEVEN 0002246-
                                                                         0002248l; GR OPCO
                                                                         00022520-00022522l
                                                                         CONFIDENTIAL
      928.                                                               GR OPCO 00022523-
                                                                         00022527; 00022536-
                                                                         00022537; 00022584-
                                                                         00022596; 00022588-
                                                                         00022590; 00022592-
                                                                         00022596
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      929.                                                               GR OPCO 00026638
                                                                         CONFIDENTIAL
      930.                                                               GR OPCO 00027282-
                                                                         00027295
                                                                         CONFIDENTIAL
      931.                                                               ELEVEN 0039034-
                                                                         0039046
                                                                         HIGHLY
                                                                         CONFIDENTIAL
      932.                                                               GR OPCO 00027738
                                                                         CONFIDENTIAL
      933.                                                               GR OPCO 000277752
                                                                         CONFIDENTIAL
      934.                                                               GR OPCO 00027734-
                                                                         00027735
                                                                         CONFIDENTIAL
      935.                                                               GR OPCO 00027736
                                                                         CONFIDENTIAL
      936.                                                               GR OPCO 00026672-
                                                                         00026687;
                                                                         00026690-00026699;
                                                                         00026701-00026711 &
                                                                         00026713-00026752
                                                                         CONFIDENTIAL
      937.                                                               GR OPCO 00027177-
                                                                         00027178
                                                                         CONFIDENTIAL
      938.                                                               GR OPCO 00026688
                                                                         CONFIDENTIAL
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     939.                                                              GR OPCO 00027115
                                                                       CONFIDENTIAL
     940.                                                              GR OPCO 00027298
                                                                       CONFIDENTIAL

     941.                                                              GR OPCO 00026712
                                                                       CONFIDENTIAL
     942.                                                              ELEVEN 0002264-
                                                                       0002288
                                                                       CONFIDENTIAL
     943.                                                              ELEVEN 0053441-
                                                                       0053449
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     944.                                                              ELEVEN 0002289-
                                                                       0002312
                                                                       CONFIDENTIAL
     945.                                                              GR OPCO 00320296-
                                                                       00320318
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     946.                                                              GR OPCO 00027755
                                                                       CONFIDENTIAL
     947.                                                              GR OPCO 00027716-
                                                                       00027717
                                                                       CONFIDENTIAL
     948.                                                              GR OPCO 00027753
                                                                       CONFIDENTIAL
     949.                                                              GR OPCO 00026752;
                                                                       00026758-00026767;
                                                                       00026773-00026798;
                                                                       00027179-00027182
                                                                       CONFIDENTIAL
     950.     May 2, 2022 dated Trademark App. Ser. No. 97/391,710     GR OPCO 00008769-
              filed by GR Opco LLC for the mark E11EVEN MUSIC          00008807
              in Class 09 (“Audio and video recordings featuring
              music and artistic performances . . . Downloadable
              music files . . . Pre-recorded record albums featuring
              music”) (with prosecution history).
     951.                                                              GR OPCO 00027118
                                                                       CONFIDENTIAL
     952.                                                              GR OPCO 00022600-
                                                                       00022611
                                                                       CONFIDENTIAL

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     953.                                                           GR OPCO 00022612-
                                                                    00022641
                                                                    CONFIDENTIAL
     954.                                                           ELEVEN 0002313-
                                                                    0002392
                                                                    CONFIDENTIAL
     955.     May 20, 2022 JetSet Magazine Article on Chad Pike     GR OPCO 00001419-
                                                                    00001422
     956.                                                           ELEVEN 0039034-
                                                                    0039046
                                                                    HIGHLY
                                                                    CONFIDENTIAL
     957.                                                           GR OPCO 00022642-
                                                                    00022647
                                                                    CONFIDENTIAL
     958.     May 24, 2022 dated Trademark App. Ser. No.            GR OPCO 00008890-
              97/426,487 filed by GR Opco LLC for the mark          00009009
              E11EVEN SOUND in Class 09 (“Loud speakers”) (with
              prosecution history).
     959.     May 24, 2022 dated Trademark App. Ser. No.                GR OPCO 00008808-
              97/426,453 filed by GR Opco LLC for the mark              00008889
              E11EVEN SOUND BY DAS AUDIO (stylized+design)
              in Class 09 (“Loud speakers”) (with prosecution history).
     960.                                                               GR OPCO 00027076-
                                                                        00027100
                                                                        CONFIDENTIAL
     961.                                                               GR OPCO 00324783
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     962.                                                               GR OPCO 00027202-
                                                                        00027203
                                                                        CONFIDENTIAL
     963.                                                               GR OPCO 00027197-
                                                                        00027199
                                                                        CONFIDENTIAL
     964.                                                               GR OPCO 00027204-
                                                                        00027209
                                                                        CONFIDENTIAL
     965.                                                               GR OPCO 00027210-
                                                                        00027217
                                                                        CONFIDENTIAL
     966.                                                               GR OPCO 00027183-
                                                                        00027195
                                                                        CONFIDENTIAL

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     967.                                                                GR OPCO 00027756
                                                                         CONFIDENTIAL
     968.                                                                GR OPCO 00027718-
                                                                         00027719
                                                                         CONFIDENTIAL
     969.                                                                GR OPCO 00026903-
                                                                         00026905
                                                                         CONFIDENTIAL
     970.                                                                GR OPCO 00026799-
                                                                         00026843;
                                                                         00026806-00026838;
                                                                         00026849-00026854
                                                                         CONFIDENTIAL
     971.     June 14, 2022 Plot Information in Matanuska-Susitna        GR OPCO 00001954-
              Borough                                                    00001956
     972.                                                                GR OPCO 00027757
                                                                         HIGHLY
                                                                         CONFIDENTIAL
     973.                                                                ELEVEN 0053655-
                                                                         0053656
                                                                         CONFIDENTIAL
     974.                                                                GR OPCO 00026855-
                                                                         00026887;
                                                                         00026889-00026896
                                                                         CONFIDENTIAL
     975.     July 1, 2022 dated Google Search of “e11even hotel”        ELEVEN 0002459-
                                                                         0002461
     976.     July 1, 2022 dated Trip Advisor Search of “e11even”        ELEVEN 0002512-
                                                                         0002517
     977.     July 1, 2022 dated Hotels.com Search of “e11even”          ELEVEN 0002518-
                                                                         0002520
     978.     July 1, 2022 dated Expedia.com Search of “e11even”         ELEVEN 0002521-
                                                                         0002523
     979.     July 1, 2022 dated Booking.com Search of “e11even”         ELEVEN 0002524-
                                                                         0002525
     980.                                                                GR OPCO 00027758
                                                                         CONFIDENTIAL
     981.                                                                GR OPCO 00027766
                                                                         CONFIDENTIAL
     982.                                                                ELEVEN 0002716-
                                                                         0002747
                                                                         CONFIDENTIAL
     983.     Eleven IP Holdings LLC’s July 6, 2022 filed Petition for   ELEVEN 0002748-
              Reexamination of Trademark Reg. No. 5,921,909 for          0002763

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              E11EVEN Mark (for Class 43 services relating to
              “providing temporary accommodation at hotel”)
     984.                                                        ELEVEN 0002780-
                                                                 0002793
                                                                 HIGHLY
                                                                 CONFIDENTIAL

     985.                                                        ELEVEN 0002808-
                                                                 0002821
                                                                 HIGHLY
                                                                 CONFIDENTIAL

     986.                                                        ELEVEN 0002822-
                                                                 0002830
                                                                 HIGHLY
                                                                 CONFIDENTIAL

     987.                                                        ELEVEN 0002794-
                                                                 0002807
                                                                 HIGHLY
                                                                 CONFIDENTIAL


     988.     https://ElevenSystems.com Website                  GR OPCO 00002738-
                                                                 00002766
     989.                                                        ELEVEN 0002836-
                                                                 0002842
                                                                 HIGHLY
                                                                 CONFIDENTIAL

     990.                                                        GR OPCO 00329919-
                                                                 00329927
                                                                 HIGHLY
                                                                 CONFIDENTIAL
     991.                                                        GR OPCO 00026888
                                                                 CONFIDENTIAL
     992.                                                        GR OPCO 00022683-
                                                                 00022687
                                                                 CONFIDENTIAL
     993.                                                        GR OPCO 00022688-
                                                                 00022725
                                                                 CONFIDENTIAL
     994.     July 19, 2022 dated U.S. Trademark App. Ser. No.   GR OPCO 00009127-
              97/509,187 filed by GR Opco LLC for the mark       00009170

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              E11EVEN LIFE in Classes 16, 25, 35, and 41 (with
              prosecution history).
     995.     ELEVEN LIFE Deck                                   GR OPCO 00023409-
                                                                 00023441
     996.     @E11EVENLife Instagram Page (w/ 34.1K followers)   GR OPCO 00001229-
                                                                 00001344
     997.     Copy of https://E11EVENLIfe.com Website            GR OPCO 00001658-
                                                                 00001670
     998.                                                        GR OPCO 00023165-
                                                                 00023167
                                                                 CONFIDENTIAL
     999.     E11EVEN relationship with Chapman Partnership      GR OPCO 00024537-
                                                                 0024544
     1000.    Various E11EVEN Gift Cards for Miami area          GR OPCO 00024546-
              Fundraisers / Charities                            00024590
     1001.                                                       GR OPCO 00022538-
                                                                 00022576;
                                                                 00022804-00022842;
                                                                 00023163;
                                                                 00023182-00023258;
                                                                 00023346-00023403
                                                                 CONFIDENTIAL
     1002.                                                       GR OPCO 000222845-
                                                                 000222848
                                                                 CONFIDENTIAL
     1003.                                                       GR OPCO 00023017-
                                                                 00023127;
                                                                 00023307-00023308 &
                                                                 00023336-00023345
                                                                 CONFIDENTIAL
     1004.                                                       GR OPCO 00022855-
                                                                 00022860;
                                                                 00022949-00022959;
                                                                 00022965-00022985 &
                                                                 00022990
                                                                 CONFIDENTIAL
     1005.                                                       GR OPCO 00022785-
                                                                 00022790
                                                                 CONFIDENTIAL
     1006.                                                       GR OPCO 00027768
                                                                 CONFIDENTIAL
     1007.                                                       GR OPCO 00027759
                                                                 CONFIDENTIAL


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     1008.                                                           GR OPCO 00027767
                                                                     CONFIDENTIAL
     1009.                                                           ELEVEN 0054146-
                                                                     0054149
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     1010.                                                           ELEVEN 0002845-
                                                                     0002860
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     1011.                                                           GR OPCO 00023442-
                                                                     00023508; 00023584-
                                                                     00023715
                                                                     CONFIDENTIAL
     1012.                                                           GR OPCO 00022796-
                                                                     00022802
                                                                     CONFIDENTIAL
     1013.    Aug. 9, 2022 Miami Herald article by Amada Mesa        GR OPCO 00013039-
              entitled “Ready for a Freaky Night? Here are some of   00013049
              the Best Halloween Parties in Miami.”
     1014.                                                           ELEVEN 0002861-
                                                                     0002868
                                                                     CONFIDENTIAL
     1015.                                                           GR OPCO 00026897-
                                                                     00026936
                                                                     CONFIDENTIAL
     1016.                                                           GR OPCO 00332014
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     1017.                                                           ELEVEN 0002940
     1018.                                                           GR OPCO 00027770
                                                                     CONFIDENTIAL
     1019.                                                           GR OPCO 00333185-
                                                                     00333261 & 00333266-
                                                                     00333281
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     1020.    Sept. 1, 2022 LeaseHawk Invoice                        GR OPCO 00027760
                                                                     CONFIDENTIAL
     1021.    Sept. 1, 2022 Boucher Brothers Management, Inc.        GR OPCO 00027769
              Invoice                                                CONFIDENTIAL
     1022.                                                           ELEVEN 00002942-
                                                                     00002973


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     1023.    Sept. 20, 2022 signed Trademark Assignment             SOMBRAS 0000091-
              Agreement by SombrasGroup LLC d/b/a The Eleven Inn     0000093
              (by David B. Smith, Managing Member)
     1024.    Sept. 22, 2022 confirmation by Marksman to David B.    SOMBRAS 0000094-
              Smith of payment of funds for Trademark Assignment     0000099
              Agreement
     1025.                                                           ELEVEN 0053475-
                                                                     0053476
                                                                     CONFIDENTIAL
     1026.                                                           ELEVEN 0053481-
                                                                     0053482
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     1027.    Sept. 26, 2022 Chad Pike Board Chairs                  ELEVEN 0053584-
                                                                     0053587

     1028.                                                                ELEVEN 0002996-
                                                                          0003041
                                                                          CONFIDENTIAL
      1029.                                                               ELEVEN 0003042-
                                                                          0003067
                                                                          CONFIDENTIAL
      1030.                                                               GR OPCO 00026937-
                                                                          00026971
                                                                          CONFIDENTIAL
      1031.                                                               GR OPCO 00026972-
                                                                          00027012
                                                                          CONFIDENTIAL
      1032.                                                               GR OPCO 00027771
                                                                          CONFIDENTIAL
      1033.                                                               ELEVEN 0053683-
                                                                          0054683
                                                                          HIGHLY
                                                                          CONFIDENTIAL
      1034.                                                               ELEVEN 0053687-
                                                                          0053690
                                                                          HIGHLY
                                                                          CONFIDENTIAL
      1035.                                                               ELEVEN 0053695-
                                                                          053697
                                                                          HIGHLY
                                                                          CONFIDENTIAL
      1036.                                                               GR OPCO 00335651
                                                                          HIGHLY
                                                                          CONFIDENTIAL
                   Plaintiff GR Opco LLC d/b/a E11EVEN’s Exhibit List
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     1037.                                                         ELEVEN 0003068-
                                                                   0003097
                                                                   CONFIDENTIAL
     1038.                                                         ELEVEN 0003098-
                                                                   0003127
                                                                   CONFIDENTIAL
     1039.    Oct. 11, 2022 Agreement for Updated Sales Model      GR OPCO 00027772
                                                                   CONFIDENTIAL
     1040.                                                         ELEVEN 0053819-
                                                                   0053840
                                                                   HIGHLY
                                                                   CONFIDENTIAL
     1041.                                                         GR OPCO 00022861-
                                                                   00022866
                                                                   CONFIDENTIAL
     1042.    Oct. 19, 2022 created “Martin Pescador Lodge Pre-    ELEVEN 0003205-
              Arrival Planning Guide”                              0003230
     1043.    Oct. 13, 2022 dated Archive.org “WayBack Machine”    GR OPCO 00002658-
              capture of http://elevenexperience.com               00002669
     1044.                                                         ELEVEN 0053960-
                                                                   0053962
                                                                   CONFIDENTIAL
     1045.                                                         ELEVEN 0053980-
                                                                   0054002
                                                                   HIGHLY
                                                                   CONFIDENTIAL
     1046.                                                         ELEVEN
                                                                   0054078&0054108
                                                                   HIGHLY
                                                                   CONFIDENTIAL
     1047.                                                         ELEVEN 0054088-
                                                                   0054089
                                                                   CONFIDENTIAL
     1048.                                                         ELEVEN 0054127-
                                                                   0054128
                                                                   CONFIDENTIAL
     1049.                                                         ELEVEN 0054129-
                                                                   0054137
                                                                   CONFIDENTIAL
     1050.                                                         ELEVEN 0003235-
                                                                   0003263
                                                                   CONFIDENTIAL
     1051.    Nov. 1, 2022 created “Taylor River Lodge” Weddings   ELEVEN 0003264-
              brochure                                             0003283

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                                                                         CONFIDENTIAL
     1052.                                                               GR OPCO 00027761
                                                                         CONFIDENTIAL
     1053.                                                               ELEVEN 0054150-
                                                                         0054148
                                                                         HIGHLY
                                                                         CONFIDENTIAL
     1054.                                                               HOSTEL 000005-
                                                                         000008
                                                                         HIGHLY
                                                                         CONFIDENTIAL
     1055.                                                               HOSTEL 000075-
                                                                         000091
                                                                         HIGHLY
                                                                         CONFIDENTIAL
     1056.    Nov. 10, 2022 dated Trademark App. Ser. No.                GR OPCO 00009227-
              97/672,009 filed by GR Opco LLC for the mark               00009250
              E11EVEN in Class 03 (“Reed diffusers comprised of
              scented oils and also including reeds and a diffuser
              container; Room fragrances; Scented oils; Scented room
              sprays; Refills for electric room fragrance dispensers”)
              (with prosecution history).

     1057.    Nov. 10, 2022 dated Trademark App. Ser. No.                GR OPCO 00009251-
              97/870,048 filed by GR Opco LLC for the mark               00009262
              E11EVEN VODKA in Class 21 (“Tumblers for use as
              drinking glasses”) (with prosecution history).
     1058.                                                               GR OPCO 00339731
                                                                         HIGHLY
                                                                         CONFIDENTIAL
     1059.                                                               GR OPCO 00027013-
                                                                         00027024
                                                                         CONFIDENTIAL
     1060.    Nov. 17, 2022 article in Miami Herald entitled “One of     GR OPCO 00012984-
              Miami’s Hottest Late-Night Clubs is Opening a Rooftop      00012989
              Bar and Restaurant.”
     1061.                                                                GR OPCO 00023129-
                                                                          00023162
                                                                          CONFIDENTIAL
      1062.                                                               GR OPCO 00340974
                                                                          HIGHLY
                                                                          CONFIDENTIAL
      1063.                                                               ELEVEN 0003349-
                                                                          0003351
                                                                          CONFIDENTIAL
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     1064.                                                           GR OPCO 00343348-
                                                                     00343357
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     1065.                                                           ELEVEN 0003360-
                                                                     0003387
                                                                     CONFIDENTIAL
     1066.                                                           ELEVEN 0003388-
                                                                     0003417
                                                                     CONFIDENTIAL
     1067.                                                           ELEVEN 0003418-
                                                                     0003447
                                                                     CONFIDENTIAL
     1068.                                                           ELEVEN 000344
                                                                     CONFIDENTIAL

     1069.                                                           ELEVEN 0003450
                                                                     CONFIDENTIAL
     1070.                                                           GR OPCO 00027025-
                                                                     00027030
                                                                     CONFIDENTIAL
     1071.                                                           GR OPCO 00343387
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     1072.    Dec. 8, 2022 Miami Herald Article by Madeline Marr     GR OPCO 00013083-
              entitled “Megan Fox cheers on Machine Gun Kelly from   00013089
              the Sidelines at this downtown Miami club.”
     1073.                                                           GR OPCO 00022894-
                                                                     00022948
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     1074.                                                           GR OPCO 00027031-
                                                                     CONFIDENTIAL
     1075.    Dec. 16, 2022 Presentation Materials for E11EVEN New GR OPCO 00158801-
              Year’s Eve 2023 event                                  00158823
     1076.    Dec. 20, 2022 filed Complaint (D.E. 1) filed by GR     ELEVEN 0003628-
              Opco LLC in the Southern District of Florida (Case No. 0003667
              1:22-cv-24119) (w/ Exhibit A – CS Irwin, LLC Terms &
              Conditions for Accommodation dated Aug. 31, 2022)
     1077.                                                           ELEVEN 0003625-
                                                                     0003627
                                                                     CONFIDENTIAL



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     1078.                                                         GR OPCO 00023319-
                                                                   00023335
                                                                   HIGHLY
                                                                   CONFIDENTIAL
     1079.                                                         GR OPCO 00025791-
                                                                   00025794
                                                                   HIGHLY
                                                                   CONFIDENTIAL
     1080.    E11EVEN Blood Drive marketing                        GR OPCO 00023829-
                                                                   00023847

     1081.                                                         GR OPCO 00023510
                                                                   HIGHLY
                                                                   CONFIDENTIAL
     1082.    E11EVEN concerts and events marketing flyers         GR OPCO 00024054-
                                                                   00024076; 00024591-
                                                                   00024594
     1083.    Mail Chip E-mail Blast Metrics for E11EVEN           GR OPCO 00023819
     1084.                                                         GR OPCO 00023912-
                                                                   00023919
                                                                   CONFIDENTIAL
     1085.                                                         GR OPCO 00023820-
                                                                   00023827; 00024041-
                                                                   000024048
                                                                   HIGHLY
                                                                   CONFIDENTIAL
     1086.                                                         GR OPCO 00023826;
                                                                   00024077
                                                                   HIGHLY
                                                                   CONFIDENTIAL
     1087.                                                         GR OPCO 00023827;
                                                                   00024052-00024053
                                                                   HIGHLY
                                                                   CONFIDENTIAL
     1088.                                                         GR OPCO 00023511-
                                                                   00023583
                                                                   HIGHLY
                                                                   CONFIDENTIAL
     1089.    Instagram Posts by @theatr11cs                       GR OPCO 00023800-
                                                                   00023807


     1090.                                                              GR OPCO 00023757-
                                                                        00023789
                                                                        CONFIDENTIAL
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     1091.    E11EVEN Performer Photographs                            GR OPCO 0023792-
                                                                       0023799

     1092.                                                             GR OPCO 00023756
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     1093.    Examples of Billboard, Taxi, and Water advertising for   GR OPCO 0023887-
              E11EVEN                                                  00023911; 00023920-
                                                                       00023925;
                                                                       00023934-0002408;
                                                                       00024010-00024024;
                                                                       00024030-00024032


     1094.    Miami Wall-Art Marketing for E11EVEN                     GR OPCO 00023926-
                                                                       00023933


     1095.    Images of E11EVEN facility exterior                      GR OPCO 00024025-
                                                                       00024026;
                                                                       00024033-00024034
     1096.    Once Upon a Time LinkedIn Profile                        GR OPCO 00000397-
                                                                       00000406
     1097.    Once Upon a Time website at                              GR OPCO 00000366-
              https://www.OnceUponaTime.agency                         00000396
     1098.                                                             GR OPCO 00027773
                                                                       CONFIDENTIAL
     1099.                                                             GR OPCO 00022991-
                                                                       00023016
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     1100.    Jan. 13, 2023 copy of http://elevenexperience.com        ELEVEN 0003767-
              homepage, lodges info, etc.                              0003783

     1101.    Jan. 13, 2023 copy of http://elevenexperience.com        ELEVEN 0003836-
              “Book Now” showing eight lodges & nine homes             0003839
     1102.    Jan. 13, 2023 copy of http://elevenexperience.com        ELEVEN 0003799-
              “About Us” info                                          0003834
     1103.    Jan. 13, 2023 copy of http://elevenexperience.com        ELEVEN 0003790-
              videos page                                              0003796
     1104.    Jan. 13, 2023 copy of @ElevenExperience Instagram        ELEVEN 0003840-
              Page                                                     0003842
     1105.    Jan. 13, 2023 copy of @ElevenExperience9950              ELEVEN 0003847-
              YouTube Channel (showing 355 subscribers)                0003854

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     1106.    Jan. 13, 2023 copy of Defendants’ LinkedIn Profile        ELEVEN 0003843-
                                                                        0003844
     1107.    Jan. 13, 2023 copy of Gunnison Crested Butte info about   ELEVEN 0003845-
              The Eleven Experience                                     0003846
     1108.    Jan. 13, 2023 copy of https://E11EVENResidences.com       ELEVEN 0003875-
              website                                                   0003878
     1109.    E11EVEN Miami Website at https://11Miami.com              GR OPCO 00002696-
                                                                        00002726
     1110.    Jan. 13, 2023 copy of https://11Miami.com website         ELEVEN 0003856-
                                                                        0003869
     1111.    E11EVEN Miami Facebook Page                               GR OPCO 00001760-
                                                                        00002946
     1112.    Jan. 13, 2023 copy of @11Miami Facebook Page for the      ELEVEN 0003848-
              E11EVEN Ultraclub (showing 224,533 followers)             0003854
     1113.    Jan. 13, 2023 copy of @11Miami YouTube Channel            ELEVEN 0003855-
              (showing 19.6K subscribers)                               0003855
     1114.    Jan. 13, 2023 copy of https://www.11thAveHostel.com       ELEVEN 0003879-
              website                                                   0003894
     1115.    Jan. 15, 2023 pricing for 11th Ave. Hostel                ELEVEN 0003895-
                                                                        0003898
     1116.    Jan. 15, 2023 copy of http://TheElevenInn.com/            ELEVEN 0003899-
                                                                        0003901
     1117.    Jan 17, 2023 photographs of ELEVEN Life candles           ELEVEN 0003909
     1118.                                                              GR OPCO 00023174-
                                                                        00023177
                                                                        CONFIDENTIAL
     1119.                                                              ELEVEN 0003926-
                                                                        0004013
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     1120.    Jan. 24, 2023 prepared “Eleven Destinations and           ELEVEN 0004014-
              Adventures Guides”                                        0004101
     1121.    Jan. 26, 2023 prepared “Eleven Angling” brochure          ELEVEN 0004102-
                                                                        0004177
     1122.                                                              GR OPCO 00027762
                                                                        CONFIDENTIAL
     1123.                                                              ELEVEN 0004347-
                                                                        0004351
                                                                        HIGHLY
                                                                        CONFIDENTIAL
     1124.                                                              ELEVEN 0054414-
                                                                        0054415
                                                                        HIGHLY
                                                                        CONFIDENTIAL

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     1125.    Feb. 2, 2023 Miami Herald article by Connie Ogle         GR OPCO 00013010-
              entitled “This Lavish Rooftop Restaurant above Miami’s   00013016
              Hottest Club is Ready to Open. Here’s a Peek.”
     1126.                                                             ELEVEN 0023098-
                                                                       0023112
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     1127.                                                             GR OPCO 00027032
                                                                       CONFIDENTIAL
     1128.    Feb. 9, 2023 prepared “2023 Marketing Summary” with      ELEVEN 0049968-
              marketing organizational chart.                          0049975
     1129.                                                             GR OPCO 00027033-
                                                                       00027041
                                                                       CONFIDENTIAL
     1130.                                                             GR OPCO 00349543-
                                                                       00349560
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     1131.                                                             ELEVEN 0004322-
                                                                       0004336
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     1132.                                                             GR OPCO 00027774
                                                                       CONFIDENTIAL
     1133.                                                             ELEVEN 0049968-
                                                                       0049975
                                                                       HIGHLY
                                                                       CONFIDENTIAL



     1134.                                                                GR OPCO 00027763
                                                                          CONFIDENTIAL
      1135.                                                               GR OPCO 00351186-
                                                                          00351208
                                                                          HIGHLY
                                                                          CONFIDENTIAL
      1136.                                                               ELEVEN 0004206-
                                                                          0004237
                                                                          CONFIDENTIAL
      1137.                                                               ELEVEN 0004248-
                                                                          0004269
                                                                          CONFIDENTIAL
      1138.                                                               ELEVEN 0004178-
                                                                          0004205
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                                                                         CONFIDENTIAL
     1139.    Mar. 13, 2023 served GR Opco LLC First Set of              n/a
              Requests for Production directed to Defendants
     1140.                                                               ELEVEN 0004270-
                                                                         0004289
                                                                         CONFIDENTIAL
     1141.                                                               ELEVEN 0004290-
                                                                         0004321
                                                                         HIGHLY
                                                                         CONFIDENTIAL
     1142.                                                               GR OPCO 00027775-
                                                                         00027793
                                                                         HIGHLY
                                                                         CONFIDENTIAL
     1143.                                                               ELEVEN 0004352-
                                                                         0004391
                                                                         CONFIDENTIAL
     1144.    Mar 22, 2023 Rule 26 Disclosures by Defendants             n/a
     1145.                                                               ELEVEN 0004397-
                                                                         0004506
                                                                         CONFIDENTIAL
     1146.                                                               ELEVEN 0004507
                                                                         CONFIDENTIAL
     1147.                                                               ELEVEN 0004392-
                                                                         0004396
                                                                         HIGHLY
                                                                         CONFIDENTIAL
     1148.                                                               ELEVEN 0054391-
                                                                         0054396
                                                                         CONFIDENTIAL
     1149.    GR Opco, LLC’s Mar. 28, 2023 Amended Complaint             D.E. 27
              filed in the Southern District of Florida(Case No. 1:22-
              cv-24119) (w/ Exhibit A – CS Irwin, LLC Terms &
              Conditions for Accommodation dated Aug. 31, 2022)
     1150.                                                               GR OPCO 00027764
                                                                         CONFIDENTIAL
     1151.                                                               ELEVEN 0054519-
                                                                         0054533
                                                                         HIGHLY
                                                                         CONFIDENTIAL

     1152.                                                               ELEVEN 0004580-
                                                                         0004603
                                                                         CONFIDENTIAL

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     1153.                                                             ELEVEN 0004556-
                                                                       00004579
                                                                       CONFIDENTIAL
     1154.                                                             ELEVEN 0004620-
                                                                       0004639
                                                                       CONFIDENTIAL
     1155.                                                             ELEVEN 0004640-
                                                                       0004663
                                                                       CONFIDENTIAL
     1156.    Apr. 18, 2023 dated Kayak.com page regarding 11th        ELEVEN 0004702-
              Avenue Hostel                                            0004706

     1157.    Apr. 18, 2023 dated MoMondo.com page regarding 11th      ELEVEN 0004707-
              Avenue Hostel                                            0004712
     1158.    Apr. 18, 2023 dated Mapquest page regarding 11th         ELEVEN 0004713-
              Avenue Hostel                                            0004725
     1159.    Apr. 18, 2023 dated Agoda.com page regarding 11th        ELEVEN 0004755-
              Avenue Hostel                                            0004760
     1160.    Apr. 18, 2023 dated Princeline.com page regarding 11th   ELEVEN 0004761-
              Avenue Hostel                                            0004764
     1161.    Apr. 18, 2023 Hostelz.com page regarding 11th Avenue     ELEVEN 0004765-
              Hostel                                                   0004769
     1162.                                                             GR OPCO 00027794
                                                                       CONFIDENTIAL
     1163.                                                             GR OPCO 00027765
                                                                       CONFIDENTIAL
     1164.                                                             GR OPCO 00127363-
                                                                       00127368
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     1165.                                                             ELEVEN 00027042-
                                                                       00027043
                                                                       CONFIDENTIAL
     1166.                                                             ELEVEN 0004858
                                                                       CONFIDENTIAL
     1167.                                                             GR OPCO 00027796-
                                                                       00027799
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     1168.                                                             GR OPCO 00127369
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     1169.                                                             GR OPCO 00127370


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                                                                     HIGHLY
                                                                     CONFIDENTIAL
     1170.                                                           GR OPCO 00127371
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     1171.                                                           GR OPCO 00127372
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     1172.                                                           GR OPCO 00027800
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     1173.                                                           GR OPCO 00027808
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     1174.                                                           GR OPCO 00027801
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     1175.                                                           GR OPCO 00027811-
                                                                     00027812
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     1176.                                                           GR OPCO 00027813
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     1177.                                                           GR OPCO 00027814
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     1178.                                                           GR OPCO 00027815-
                                                                     00027816
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     1179.    June 14, 2023 captured 11th Avenue Hostel “About Us”   GR OPCO 00000001-
              page                                                   00000002
     1180.    June 14, 2023 captured Eleven Inn “Home page”          GR OPCO 00000085
     1181.    June 15, 2023 capture of @11Miami TikTok Page          GR OPCO 00001409-
                                                                     00001415
     1182.                                                           ELEVEN 0054406
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     1183.                                                           ELEVEN 0054116
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     1184.    Oct. 10, 2023 created Archive.org capture of           ELEVEN 0054516-
              https://elevenexperience.com                           0054518

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     1185.    Composite Exhibit of E11EVEN AdWords Advertising         GR OPCO 00026686;
              Invoices                                                 00026782; 00026835;
                                                                       00026891; 00026920;
                                                                       00027153
     1186.    Cease and Desist letters sent on behalf of GR Opco LLC   GR OPCO 00021531-
              d/b/a E11EVEN                                            00021545
                                                                       CONFIDENTIAL
     1187.    Cease and Desist letters sent on behalf of GR Opco LLC   GR OPCO 00021546-
              d/b/a E11EVEN                                            00021547
     1188.    Cease and Desist letters sent on behalf of GR Opco LLC   GR OPCO 00021550-
              d/b/a E11EVEN                                            00021551
     1189.    Cease and Desist letters sent on behalf of GR Opco LLC   GR OPCO 00022608-
              d/b/a E11EVEN                                            00021612
     1190.    Cease and Desist letters sent on behalf of GR Opco LLC   GR OPCO 00021780-
              d/b/a E11EVEN                                            00021781
                                                                       CONFIDENTIAL
     1191.    Cease and Desist letters sent on behalf of GR Opco LLC   GR OPCO 00021833-
              d/b/a E11EVEN                                            00021838
                                                                       CONFIDENTIAL
     1192.    Cease and Desist letters sent on behalf of GR Opco LLC   GR OPCO 00021986-
              d/b/a E11EVEN                                            00021989
                                                                       CONFIDENTIAL
     1193.    Cease and Desist letters sent on behalf of GR Opco LLC   GR OPCO 00021991-
              d/b/a E11EVEN                                            00022005
                                                                       CONFIDENTIAL
     1194.    Cease and Desist letters sent on behalf of GR Opco LLC   GR OPCO 00022308-
              d/b/a E11EVEN                                            00022310
                                                                       CONFIDENTIAL
     1195.    Cease and Desist letters sent on behalf of GR Opco LLC   GR OPCO 00022653-
              d/b/a E11EVEN                                            00022662
                                                                       CONFIDENTIAL
     1196.    Cease and Desist letters sent on behalf of GR Opco LLC   GR OPCO 00022883-
              d/b/a E11EVEN                                            00022886
     1197.    Cease and Desist letters sent on behalf of GR Opco LLC   GR OPCO 00023266-
              d/b/a E11EVEN                                            00023267
                                                                       CONFIDENTIAL
     1198.    Cease and Desist letters sent on behalf of GR Opco LLC   GR OPCO 00023310-
              d/b/a E11EVEN                                            00023318
                                                                       CONFIDENTIAL
     1199.    Cease and Desist letters sent on behalf of GR Opco LLC   GR OPCO 000223317-
              d/b/a E11EVEN                                            00023318
     1200.    Cease and Desist letters sent on behalf of GR Opco LLC   GR OPCO 00160549-
              d/b/a E11EVEN                                            00160550
                                                                       CONFIDENTIAL

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     1201.    Roadtrippers Profile for Scarp Ridge Lodge available at     GR OPCO 00002562-
              https://maps.roadtrippers.com/us/crested-butte-             00002566
              co/vacation-rentals/eleven-scarp-ridge-lodge
      1202.   Pelorus Profile for Scarp Ridge Lodge available at          GR OPCO 00002586-
              https://pelorusx.com/accommodation/scarp-ridge-lodge/ 00002591
      1203.   Booking.com On-line Booking System for Scarp Ridge          GR OPCO 00002727-
              Lodge available at                                          00002731
              https://www.booking.com/hotel/us/eleven-experience-
              scarp-ridge-lodge.html
      1204.   Expedia.com On-line Booking System for Scarp Ridge          GR OPCO 00002767-
              Lodge available at https://www.expedia.com/Crested-         00002772
              Butte-Hotels-Eleven-Experience-Scarp-Ridge-
              Lodge.h36076961.Hotel-Information
      1205.   Booked.net On-line Booking System for Scarp Ridge           GR OPCO 00001594-
              Lodge available at https://eleven-experience-scarp-ridge- 00001598
              lodge-crested-butte.booked.net
      1206.   MoMondo.com On-line Booking System for Scarp                GR OPCO 00002850-
              Ridge Lodge (rates from $907 per night) available at        00002855
              https://www.momondo.com/hotels/crested-butte/Eleven-
              Experience-Scarp-Ridge-Lodge.mhd3807279.ksp
      1207.   Kayak On-Line Booking for Scarp Ridge Lodge (at             GR OPCO 00001616-
              $1,055 per night) available at                              00001621
              https://www.kayak.com/Crested-Butte-Hotels-Scarp-
              Ridge-Lodge.3807279.ksp
      1208.   HereComesTheGuide.com Webpage regarding Scarp               GR OPCO 00002794-
              Ridge Lodge pricing at $20,800/event and up ($5,000         2797
              event fee + and additional two-night minimum property
              buyout, starting at $7,900/night)
      1209.   Leo Trippi Profile on Scarp Ridge Lodge discussing how GR OPCO 0002799-
              it “is able to accommodate up to 14 guests across six en- 0002802
              suite bedrooms”) available at
              https://www.leotrippi.com/united-states/crested-
              butte/scarp-ridge-lodge/
      1210.   Scott Dunn Profile on Scarp Ridge Lodge discussing          GR OPCO 00002856-
              how the “19 century mason’s lodge and Victorian
                            th
                                                                          00002858
              brothel” has rooms are “[a]vailable on an individual
              room basis or whole lodge basis” available at
              https://www.scottdunn.com/us/usa/hotels/scarp-ridge-
              lodge
      1211.   PlanetofHotels.com On-Line Booking for Scarp Ridge          GR OPCO 00002592-
              Lodge available at                                          00002596
              https://planetofhotels.com/en/usa/crested-butte/eleven-
              experience-scarp-ridge-lodge
      1212.   TripAdvisor On-Line Booking System for Deplar Farms GR OPCO 00001622-
              available at https://www.tripadvisor.com/Hotel_Review- 00001629
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              g1917492-d13990680-Reviews-Eleven_Deplar_Farm-
              Olafsfjordur_Northeast_Region.html
     1213.    Uniqu Hotels On-line Booking System for Deplar Farms      GR OPCO 00001599-
              available at https://www.uniqhotels.com/deplar-farm       00001615
     1214.    Eleven Experience Listing for ILTM Cannes (Exhibitor      GR OPCO 00001440-
              Listing - Dec. 4-7, 2023)                                 00001441
     1215.    Eleven Experience Listing for ILTM Cannes                 GR OPCO 00357797-
                                                                        00357802
     1216.   Heli.life Profile for Eleven Experience (with 6 followers) GR OPCO 00001442-
             available at https://heli.life/eleven                      00001443
     1217.   Gunnison Crested Butte Profile for Eleven Experience       GR OPCO 00001444-
             available at                                               00001445
             https://gunnisoncrestedbutte.com/partners/the-eleven-
             experience/
     1218.   Courtney Reagan LinkedIn Profile                           GR OPCO 00002813-
                                                                        00002815
     1219.   Kyra Phelps LinkedIn Profile                               GR OPCO 00002816-
                                                                        00002817
     1220.   Circa-2023 captured https://ElevenExperience.com           GR OPCO 00001994-
             “Terms & Conditions for Accommodation”                     00002005
     1221.   Circa-2023 captured https://ElevenExperience.com           GR OPCO 00002006-
             webpage                                                    00002345
     1222.   Circa-2023 captured Blog for                               GR OPCO 00002346-
             https://ElevenExperience.com/blog/                         00002350
     1223.   Circa-2023 captured Job Opening at                         GR OPCO 00002351-
             https://ElevenExperience.com/careers/                      000002358
     1224.   Circa-2023 captured Videos posted at                       GR OPCO 00002392-
             https://ElevenExperience.com/videos/                       00023400
     1225. 1 Circa-2023 captured information on Scarp Ridge Lodge GR OPCO 00002413-
             (Summer) posted at https://elevenexperience.com/scarp- 00002420
             ridge-lodge-colorado-summer/
     1226.   Circa-2023 captured information on Sopris House            GR OPCO 00002464-
             (Summer) posted at https://elevenexperience.com/sopris- 00002471
             house-colorado-summer
     1227.   Circa-2023 captured information on Taylor River Lodge GR OPCO 00002431-
             (Summer) posted at https://elevenexperience.com/taylor- 00002438
             river-lodge-summer/
     1228.   Circa-2023 captured information on Winterlake Lodge        GR OPCO 00002482-
             (Summer) posted at                                         00002488
             https://elevenexperience.com/eleven-winterlake-lodge-
             alaska-summer/
     1229.   Circa-2023 captured information on Deplar Farm             GR OPCO 00002421-
             (Summer) posted at https://elevenexperience.com/deplar- 00002429
             farm-iceland-summer

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     1230.    Circa-2023 captured information on Rio Palena Lodge      GR OPCO 00002472-
              posted at https://elevenexperience.com/eleven-rio-       00002480
              palena-lodge
     1231.    Eleven Systems Website                                   GR OPCO 00002739-
                                                                       00002766
     1232.    Circa-2023 captured information on Bahama House,         GR OPCO 00002439-
              Chalet Pelerin, and Chalet Hibou (Summer)                00002463
     1233.    Circa-2023 captured information on Pescador Lodge,       GR OPCO 00002488-
              Revelstoke Lodge and Cedar Lodge (Summer)                00002510
     1234.    Crested Butte Lofts Website                              GR OPCO 00002735-
                                                                       00002737
     1235.    Circa-2023 captured information about Public House       GR OPCO 00002617-
              from http://PublicHouseCB.com                            00002638
     1236.    Circa-2023 captured information about the Public House   GR OPCO 0002847-
              Lofts                                                    0002849
     1237.    Crested Butte Business License Information               GR OPCO 00001423-
                                                                       00001424
     1238.    Colorado Code for Hotel and Restaurant Alcohol           GR OPCO 00001425-
              Licenses                                                 00001429
     1239.    Defendant Eleven IP Holdings, LLC’s Aug. 11, 2023        D.E. 60
              filed Answer/Counterclaim Directed to GR Opco, LLC
     1240.    GR Opco, LLC’s June 15, 2023 Amended Responses to        n/a
              Defendant’s First Set of Requests for Admissions
     1241.    GR Opco, LLC’s June 27, 2023 Supplemental                n/a
              Responses to Defendants’ First Set of Interrogatories
     1242.    GR Opco LLC’s Aug. 10, 2023 Response to Defendants’      n/a
              Second Set of Requests for Admissions
     1243.    Defendants’ Oct. 17, 2023 served Third Amended and       n/a
              Supplemental Responses to GR Opco LLC’s First Set of
              Interrogatories
     1244.    Copy of https://www.11thAvenueHostel.com                 GR OPCO 0000001-
                                                                       0000054
     1245.    @11thAvenue Twitter Handle for 11th AVENUE               GR OPCO 00000079-
                                                                       00000084
     1246.                                                             HOSTEL 000043-
                                                                       000044
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     1247.                                                             HOSTEL 000045-
                                                                       000046
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     1248.                                                             HOSTEL 000038


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                                                                       HIGHLY
                                                                       CONFIDENTIAL
     1249.                                                             HOSTEL 000051-
                                                                       000052
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     1250.                                                             HOSTEL 000053-
                                                                       000056
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     1251.                                                             HOSTEL 000040
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     1252.    Mar. 29, 2011 Invoice for 11th AVENUE to join Visit      GR OPCO 00127373-
              Denver’s President’s Level                               00127374
     1253.                                                             GR OPCO 00127497
                                                                       CONFIDENTIAL
     1254.                                                             GR OPCO 00161950
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     1255.                                                             GR OPCO 00162069
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     1256.                                                             GR OPCO 00128078
                                                                       HIGHLY
                                                                       CONFIDENTIAL
     1257.    Feb. 2014 Rates Sheet for 11th AVENUE HOTEL AND          GR OPCO 00128089
              HOSTEL
     1258.                                                             GR OPCO 0128463
                                                                       CONFIDENTIAL
     1259.    June 4, 2014 Rates for Visit Denver Presidential Level   GR OPCO 00128467-
              Membership                                               00128468
     1260.                                                             GR OPCO 00128512-
                                                                       00128513
                                                                       CONFIDENTIAL
     1261.                                                             GR OPCO 00128750-
                                                                       00128751
                                                                       CONFIDENTIAL
     1262.                                                             GR OPCO 00128752-
                                                                       00128753
                                                                       CONFIDENTIAL
     1263.                                                             GR OPCO 0128904-
                                                                       0128905
                                                                       CONFIDENTIAL

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     1264.                                                         GR OPCO 00128909-
                                                                   00128911
                                                                   CONFIDENTIAL
     1265.                                                         GR OPCO 00128939-
                                                                   00128941
                                                                   CONFIDENTIAL
     1266.                                                         GR OPCO 00129057-
                                                                   0129058
                                                                   CONFIDENTIAL
     1267.                                                         GR OPCO 00129080-
                                                                   00129084
                                                                   CONFIDENTIAL
     1268.                                                         GR OPCO 00129314
                                                                   CONFIDENTIAL


     1269.                                                         GR OPCO 00129840-
                                                                   00129842
                                                                   HIGHLY
                                                                   CONFIDENTIAL
     1270.                                                         GR OPCO 00130472
                                                                   HIGHLY
                                                                   CONFIDENTIAL
     1271.                                                         GR OPCO 00133186
                                                                   HIGHLY
                                                                   CONFIDENTIAL
     1272.                                                         GR OPCO 00134032
                                                                   HIGHLY
                                                                   CONFIDENTIAL
     1273.                                                         GR OPCO 00134164
                                                                   HIGHLY
                                                                   CONFIDENTIAL
     1274.                                                         GR OPCO 00134185
                                                                   CONFIDENTIAL
     1275.                                                         GR OPCO 00134374
                                                                   CONFIDENTIAL
     1276.                                                         GR OPCO 00204896-
                                                                   00204902
                                                                   HIGHLY
                                                                   CONFIDENTIAL
     1277.    Aug. 23, 2017 e-mail exchange with Visit Denver to   GR OPCO 00138459-
              supply 11th AVENUE HOTEL brochures for placement     00138460
              at Denver International Airport


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     1278.                                                     GR OPCO 00141295-
                                                               00141296
                                                               CONFIDENTIAL
     1279.    Aug. 17, 2023 e-mail exchange regarding          GR OPCO 00160833-
              TripAdvisor.com ranking 11th AVENUE HOTEL as No. 00160835
              1 Hotel in Denver
     1280.    Aug. 20, 2023 TripAdvisor Review                 GR OPCO 00160840-
                                                               00160841
     1281.                                                     HOSTEL 000214-
                                                               000257
                                                               HIGHLY
                                                               CONFIDENTIAL
     1282.                                                     GR OPCO 00127339
                                                               HIGHLY
                                                               CONFIDENTIAL
     1283.                                                     HOSTEL 000074
                                                               HIGHLY
                                                               CONFIDENTIAL
     1284.                                                     GR OPCO 00127338
                                                               HIGHLY
                                                               CONFIDENTIAL
     1285.                                                     HOSTEL 000030
                                                               HIGHLY
                                                               CONFIDENTIAL
     1286.                                                     HOSTEL 000047-
                                                               000050
                                                               HIGHLY
                                                               CONFIDENTIAL
     1287.                                                     HOSTEL 000204-
                                                               000213
                                                               HIGHLY
                                                               CONFIDENTIAL
     1288.    DenverArchitecture.org Article on 11th AVENUE    GR OPCO 00357501-
              Restoration                                      00357507
     1289.    Visit Denver Listing for 11th AVENUE             GR OPCO 00357350-
                                                               00357357
     1290.    TripAdvisor.com Listing and Reviews for 11th     GR OPCO 00357358-
              AVENUE                                           00375375
     1291.    HostelWorld.com Listing for 11th AVENUE          GR OPCO 00357376-
                                                               00357384
     1292.    Agoda.com Listing for 11th AVENUE                GR OPCO 00357385-
                                                               00357403
     1293.    Colorado.com Hotels & Lodging in Colorado Page   GR OPCO 00002732-
                                                               00002734

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     1294.    Colorado.com Listing for 11th AVENUE               GR OPCO 00357404-
                                                                 00357409
     1295.    Facebook.com Page for 11th AVENUE                  GR OPCO 00357410-
                                                                 00357443
     1296.    Google Listing for 11th AVENUE                     GR OPCO 00357444-
                                                                 00357470
     1297.    Kayak.com Listing for 11th AVENUE                  GR OPCO 00357471-
                                                                 00357487
     1298.    Trip.com Listing for 11th AVENUE                   GR OPCO 00357488-
                                                                 00357500
     1299.    HostelClub.com Listing for 11th AVENUE             GR OPCO 00357508-
                                                                 00357518
     1300.    MoMondo.com Listing for 11th AVENUE                GR OPCO 00357525-
                                                                 00357540
     1301.    LinkedIn Profile for 11th AVENUE                   GR OPCO 00357519-
                                                                 00357524
     1302.    Booked.com Profile for 11th AVENUE                 GR OPCO 00357541-
                                                                 00457558
     1303.    TheHostelGroup.com Profile for 11th AVENUE         GR OPCO 00357559-
                                                                 00357567
     1304.    Priceline.com Profile for 11th AVENUE              GR OPCO 00357568-
                                                                 00357578
     1305.    Trivago.com Profile for 11th AVENUE                GR OPCO 00357579-
                                                                 00357589
     1306.    Hotels Colorado Profile for 11th AVENUE            GR OPCO 00357590-
                                                                 00357603
     1307.    Denver Hotels Profile for 11th AVENUE              GR OPCO 00357604-
                                                                 00357610
     1308.    HotelsColorado.net Profile for 11th AVENUE         GR OPCO 00357611-
                                                                 00357616
     1309.    Atrapalo.com Profile for 11th AVENUE               GR OPCO 00357617-
                                                                 00357633
     1310.    Chiangdao.com Profile for 11th AVENUE              GR OPCO 00357634-
                                                                 00357642
     1311.    Skyscanner Profile for 11th AVENUE                 GR OPCO 00357643-
                                                                 00357658
     1312.    Wego Profile for 11th AVENUE                       GR OPCO 00357659-
                                                                 00357667
     1313.    PlanetofHotels.com Profile for 11th AVENUE         GR OPCO 00357668-
                                                                 00357682
     1314.    Reddit Reviews for 11th AVENUE HOSTEL              GR OPCO 00357683-
              (Set 1 of 3)                                       00357692
     1315.    Reddit Reviews for 11th AVENUE HOSTEL              GR OPCO 00357749-
              (Set 2 of 3)                                       00357753

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     1316.    Reddit Reviews for 11TH AVENUE HOSTEL                  GR OPCO 00357763-
              (Set 3 of 3)                                           00357790
     1317.    HikersBay.com Profile for 11TH AVENUE                  GR OPCO 00357693-
                                                                     00357725
     1318.    InstantWorldBooking.com Profile for 11TH AVENUE        GR OPCO 00357726-
                                                                     00357733
     1319.    InstantWorldBooking.com Profile for 11TH AVENUE        GR OPCO 00357754-
                                                                     00357762
     1320.    ReadyToTrip.com Profile for 11TH AVENUE                GR OPCO 00357734-
                                                                     00357748
     1321.    Denver Post article “New Generation of Colorado        GR OPCO 0000060-
              hostels enticing travelers with boutique amenities.”   0000078
     1322.                                                           GR OPCO 00358038-
                                                                     00389470
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     1323.    Copy of http://www.TheElevenInn                        GR OPCO 0000085-
                                                                     00000087
     1324.                                                           GR OPCO 00357178
                                                                     HIGHLY
                                                                     CONFIDENTIAL
     1325.    Sept. 15, 2010 dated General Warranty Deed from        GR OPCO 00357179-
              Balmorhea Partners LLC to SombrasGroup LLC             00357186
     1326.    LEXIS NEXIS Report regarding THE ELEVEN INN            GR OPCO 00375221-
                                                                     00375235
     1327.    Pricing for THE ELEVEN INN                             SOMBRAS 0000080
     1328.    Email providing pricing for THE ELEVEN INN             SOMBRAS 0000081
     1329.    THE ELEVEN INN Brochures                               SOMBRAS 0000073-
                                                                     0000079
     1330.    Pictures of THE ELEVEN INN                             GR OPCO 00357236-
              (Set 1 of 2)                                           00357245
     1331.    Pictures of THE ELEVEN INN                             GR OPCO 00357313 -
              (Set 2 of 2)                                           00357319
     1332.    Balmorhea State Park Website                           GR OPCO 00357320-
                                                                     00357321
     1333.    TripAdvisor.com Profile for THE ELEVEN INN             GR OPCO 0000088-
                                                                     00000150
     1334.    TripAdvisor.com Reviews for THE ELEVEN INN             GR OPCO 00357246-
                                                                     003573087
     1335.    Yelp.com Profile for THE ELEVEN INN                    GR OPCO 00000151-
                                                                     00000180
     1336.    Yelp.com Selection of Reviews for The ELEVEN INN       GR OPCO 00357322-
                                                                     00357336


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      1337.   Google Profile for THE ELEVEN INN                         GR OPCO 00000181-
                                                                        00000194
      1338.   Google Reviews for THE ELEVEN INN                         GR OPCO 00357337-
                                                                        00357344
      1339.   YellowPages.com Listing for THE ELEVEN INN                GR OPCO 00357309
      1340.   FourSquare Listing for THE ELEVEN INN                     GR OPCO 00357310
      1341.   RoadTrippers.com Listing for THE ELEVEN INN               GR OPCO 00357311
      1342.   HeyMotels.com Listing for THE ELEVEN INN                  GR OPCO 00357312
      1343.   TripAdvisor.com profile for The ELEVEN INN                GR OPCO 00357246-
                                                                        003573087
      1344.   June 2011 Travel & Outdoors article about Balmorhea,      GR OPCO 00375217-
              Texas & THE ELEVEN INN                                    00357219
      1345.   “The Beths List” Article about THE ELEVEN INN             GR OPCO 00357198 -
                                                                        00357216
      1346.   2010-2022 Itemized Advertising and Promotional            SOMBRAS 0000079
              Listing for THE ELEVEN INN
      1347.   July 2023 Monthly Receipt Ledger for THE ELEVEN           SOMBRAS 0000082-
              INN                                                       0000085
      1348.   2010-2023 (through Aug. 2023) Monthly & Yearly            SOMBRAS 0000083-
              Revenues for THE ELEVEN INN                               0000085
      1349.   Sept. 20, 2022 executed Trademark Assignment              GR OPCO 00357346 -
              Agreement from SombrasGroup LLC                           00357348
      1350.   SombrasGroup LLC Historic Reservation Folios              (BATES
              (expected 2010-2022)                                      IDENTIFICATION
                                                                        FORTHCOMING)
      1351.   David O. Marlow Photography List of Clients               GR OPCO 00002677-
                                                                        00002679
      1352.   SKC Agency Archive of E11EVEN Social Media                GR OPCO 27817-
              Content                                                   127337
      1353.   Filings in Trademark Dispute in the Western District of   GR OPCO 00357816-
              Texas                                                     00357824 & 00357944-
                                                                        00354959 & 357978-
                                                                        00357984
      1354.   TripAdvisor Reviews of Public House                       GR OPCO 00357942-
                                                                        00357943
      1355.   Town of Crested Butte Public Information Documents        GR OPCO 00357825-
                                                                        00357900 & 00357960-
                                                                        00357977 & 00357985-
                                                                        00358022 & 00389477
      1356.   Docket Sheet, including copies of any and all filings     n/a
              made by the parties (and exhibits thereto)
      1357.   Any exhibits (including portions or subsets thereof)
              listed, referenced or identified by Defendants not
              provided herein.

                 Plaintiff GR Opco LLC d/b/a E11EVEN’s Exhibit List
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           Plaintiff expressly reserves the right to amend, modify, edit and supplement the foregoing

    initial exhibit list as: (a) discovery remains on-going, (b) Plaintiff, proximate the filing of this

    initial exhibit list, is seeking leave to amend its pleading to join new parties as well as add

    additional allegations, (c) Plaintiff has not had the benefit to review Defendants’ exhibit list, and

    (d) since September 1, 2023 both sides have produced the majority of their documents and Plaintiff

    continues to review those documents for purpose of identifying relevant information.




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    Dated: Oct. 27, 2023            Respectfully submitted,


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                                    CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on Oct. 27, 2023, I electronically filed the foregoing document
    with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
    served this day on all counsel of record or pro se parties identified on the attached Service List in
    the manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF
    or in some other authorized manner for those counsel or parties who are not authorized to receive
    electronically Notices of Electronic Filing.
                                                   By:      Robert H. Thornburg
                                                            ROBERT H. THORNBURG


                                            SERVICE LIST
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